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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 MARYLAND SHALL ISSUE, INC., et al., )
                                     )
 Plaintiffs,                         )
                                     )
 v.                                  ) Case No. 16-cv-3311-ELH
                                     )
 LAWRENCE HOGAN, et al.,             )
                                     )
 Defendants.                         )

      Plaintiffs’ Memorandum in Support of Cross-Motion for Summary Judgment
            and in Opposition to Defendants’ Motion for Summary Judgment

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                                            Introduction

       Maryland’s “permit-to-purchase” law bans Maryland’s law-abiding, responsible citizens

from acquiring a handgun without first applying for and obtaining a handgun qualification license

(“HQL”). It also bans Maryland’s firearm retailers from selling handguns to individuals without

an HQL. The HQL application and approval process is time-consuming and burdensome, requiring

law-abiding, responsible Maryland citizens who wish to acquire a handgun to, at their own

expense:

              Initiate the HQL application online;

              Locate and travel to an approved fingerprint vendor to obtain fingerprints;

              Attend a half-day classroom instruction;

              Locate and travel to a shooting range and pass a live-fire exercise;

              Complete and submit the HQL application online;

              Pay a $50 application fee;

              Wait up to 30 days (and oftentimes longer) for the Maryland State Police to conduct

               a background check and approve or deny the HQL application.

The process does not end there. After an HQL application is approved, a prospective purchaser

must then undergo Maryland’s pre-existing and still-continuing handgun registration process prior

to purchasing a handgun (“77R Handgun Registration”), which requires purchasers to undergo a

second, redundant background check; register the handgun they wish to purchase; pay another fee;

and wait an additional seven business days before finally acquiring their handgun for possession

in their homes. Defendants admit the preexisting and continuing 77R Handgun Registration

process kept those who are prohibited from acquiring firearms from doing so. The HQL

requirement imposes a superfluous layer of regulatory inconvenience and expense that



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unnecessarily burdens the core right of the Second Amendment to acquire and possess a handgun

for self-defense in the home.

       The HQL requirement is not just burdensome. Prospective purchasers are banned from

purchasing, renting, or receiving a handgun for self-defense in their homes while they work to

complete their HQL applications, while they wait 30 days or longer for the State to process their

applications, and while they wait another seven business days after purchasing their handguns.

The undisputed facts demonstrate both that the HQL requirement temporarily bans handgun

acquisition and that it was intended to deter, and has deterred, tens of thousands of law-abiding,

responsible Maryland citizens from exercising their core Second Amendment right to possess

handguns for self-defense in the home.

       The HQL requirement is unconstitutional because it effects a ban on handgun acquisition

that is inconsistent with the Second Amendment’s text, history, and tradition. See, e.g., District of

Columbia v. Heller, 554 U.S. 570, 628 (2008) (“The handgun ban amounts to a prohibition of an

entire class of ‘arms’ that is overwhelmingly chosen by American society for that lawful

purpose.”). Heller made clear that a handgun ban extending “to the home, where the need for

defense of self, family, and property is most acute” is per se unconstitutional. Id. at 628–29 (“Under

any of the standards of scrutiny that we have applied to enumerated constitutional rights, banning

from the home ‘the most preferred firearm in the nation to ‘keep’ and use for protection of one’s

home and family,’ would fail constitutional muster.”). The HQL requirement is a ban that extends

to the home, so it is unconstitutional. And even if not considered a permanent or outright ban, the

HQL requirement is unconstitutional because it is inconsistent with the Second Amendment’s text,

history, and tradition. There is no historical antecedent for conditioning the right to acquire a




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firearm on submitting fingerprints or undergoing training, including the live fire of a handgun, and

Defendants fail to demonstrate that any existed.

       The HQL requirement is also unconstitutional under the United States Court of Appeals

for the Fourth Circuit’s two-part approach, which first examines whether the challenged law

burdens conduct protected by the Second Amendment and then whether the State carried its burden

to demonstrate the challenged law survives heightened scrutiny. Kolbe v. Hogan,

849 F.3d 114, 133 (4th Cir. 2017) (en banc). Under the first part, the law of the case and the

undisputed facts establish that the HQL requirement burdens conduct protected by the Second

Amendment—the right of law-abiding, responsible Maryland citizens to acquire a handgun for

self-defense in the home. The law of the case and the undisputed facts also establish that the HQL

requirement burdens firearm retailers’ protected Second Amendment right to sell handguns to

these individuals. Under the second part, strict scrutiny is appropriate because Fourth Circuit case

law is clear that the right of law-abiding, responsible Maryland citizens to acquire and possess a

handgun for self-defense in the home is the Second Amendment’s core right and that burdens on

the core right must be reviewed using strict scrutiny. The HQL requirement fails strict or even

intermediate scrutiny because Defendants have not demonstrated that the HQL requirement

advances public safety in Maryland. The undisputed facts establish the opposite. The HQL

requirement adds an unnecessary burden to the Second Amendment right to purchase and sell

handguns. It therefore is not appropriately tailored, and summary judgment for Plaintiffs is

appropriate.

                                       Procedural History

       Plaintiffs filed their Amended Complaint on December 28, 2016, alleging that the HQL

requirement violates on its face the Second Amendment right to purchase and sell handguns. Am.

Compl., ECF 14. Defendants moved to dismiss, arguing that Plaintiffs lacked standing and that


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their causes of action fail as a matter of law. Defs. Mot. to Dismiss, ECF 18. The Honorable Marvin

J. Garbis denied Defendants’ motion with respect to Plaintiffs’ Second Amendment cause of

action, noting that “Defendants do not deny that the HQL Provision and implementing regulations

burden conduct within the scope of the Second Amendment, namely, the ability of a law-abiding

citizen to attain a handgun for use in the home for self defense.” Order on Defs. Mot. to Dismiss,

ECF 34, at 13. Judge Garbis stated that it was “premature” to choose between strict or intermediate

scrutiny but held that the HQL requirement “do[es] implicate the core right of the Second

Amendment.” Id. at 17–19. Judge Garbis distinguished Plaintiffs (who are law-abiding and

responsible) and the HQL requirement (which burdens the core right) from previous Fourth Circuit

Second Amendment precedent that applied intermediate scrutiny because the plaintiffs were not

law-abiding and responsible or the challenged law did not burden the core right. Id. at 17.

       After conducting extensive discovery, the parties filed cross-motions for summary

judgment. This Court held that Plaintiffs lacked standing, dismissed the case in its entirety, and

entered judgment for Defendants. Mem. Op., ECF 102.

       The Fourth Circuit reversed and remanded, holding that Plaintiff Atlantic Guns, Inc.

(“Atlantic Guns”), has standing to assert a Second Amendment cause of action, both “to bring its

own, independent Second Amendment claim” that the HQL requirement infringes its right to sell

handguns and “to bring a Second Amendment claim as to its customers’ right to purchase

firearms.” Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199, 214, 216 (4th Cir. 2020). Atlantic

Guns has standing to assert its right to sell because, among other things, “the HQL requirement

undoubtedly constrains Atlantic Guns’ ability to sell handguns and limits its potential customer

base.” Id. at 213. Atlantic Guns also has third party standing to assert its customers’ right to buy

because the HQL requirement restricts its customers from purchasing handguns. Id. at 214–16.




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The Fourth Circuit held that Atlantic Guns’ “uncontroverted evidence” established that the HQL

requirement caused Atlantic Guns to lose handgun sales and gross revenue. Id. at 211–12. The

Fourth Circuit also held that the HQL requirement caused the injury to Atlantic Guns’ Second

Amendment rights and this injury would be redressed if judgment were entered in its favor. Id. at

212–13. Because Atlantic Guns has both “independent and third-party standing to bring a Second

Amendment cause, each of the Plaintiffs has standing to bring a Second Amendment cause of

action.” Id. at 216.

                                 Statement of Undisputed Facts

        A.      Plaintiffs

        Atlantic Guns is a family-owned firearms retailer founded in 1950 by the current owner’s

father. See Declaration of Stephen Schneider (“Schneider Decl.”), Ex. 1, at ¶ 2.1 Atlantic Guns is

a licensed Maryland regulated firearms dealer. Id. at ¶¶ 3–4. It buys, sells, receives, and transfers

firearms including handguns within and without Maryland. Id. at ¶ 3. Atlantic Guns’ customers

and prospective customers are law-abiding, responsible Maryland citizens who wish to possess

handguns for self-defense in their homes but are prevented and deterred from doing so by

Maryland’s HQL requirement. Id. at ¶ 5. Handguns are the most popular firearm choice of Atlantic

Guns’ customers for self-defense in the home. Id. at ¶ 6. The HQL requirement causes Atlantic

Guns to turn away would-be handgun customers weekly. Id. at ¶ 8. Since the HQL requirement

took effect in 2013, Atlantic Guns has turned away hundreds of customers who wished to purchase

handguns but lacked an HQL. Id. In addition to delaying or denying its customers’ acquisition of

handguns, the HQL requirement has severely impacted Atlantic Guns’ Second Amendment right



1
  Plaintiffs file a redacted version of his declaration that redacts Atlantic Guns’ confidential
business information. An unredacted version of Mr. Schneider’s declaration along with its exhibits
is filed under seal identified as ECF 77-01.

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to sell handguns. Id. at ¶ 7. According to Defendants’ records, Atlantic Guns’ handgun sales and

revenue decreased substantially after the HQL requirement was imposed. Maryland Shall Issue,

971 F.3d at 211.

          Plaintiff Maryland Shall Issue, Inc. (“MSI”) is an “all volunteer, non-partisan organization

dedicated to the preservation and advancement of gun owners’ rights in Maryland. It seeks to

educate the community about the right of self-protection, the safe handling of firearms.” Maryland

Shall Issue, About Us.2 MSI’s membership includes over 1,900 law-abiding, responsible Maryland

citizens, including the Individual Plaintiffs as well as numerous other individuals who do not

possess an HQL but wish to acquire a handgun. Declaration of Mark Pennak (“Pennak Decl.”),

Ex. 2, at ¶ 2, 3; Deposition of Dana Hoffman (“Hoffman Dep.”), Ex. 16, at 13:20–14:6; Deposition

of John Matthew Clark (“Clark Dep.”), Ex. 26, at 15:11–18; Deposition of Scott Thomas Miller

(“S. Miller Dep.”), Ex. 25, at 9:19–10:19; Deposition of Deborah Miller (“D. Miller Dep.”), Ex.

4, at 18:5–12. The HQL requirement has deterred MSI’s members from obtaining handguns

because it is burdensome, time-consuming, and expensive. Clark Dep., Ex. 26, at 14:17–15:10; S.

Miller Dep., Ex. 25, at 24:4–25:11; Deposition of Mark Pennak (“Pennak Dep.”), Ex. 17, at 23:17–

25:14.

          Plaintiff Susan Brancato Vizas is a Maryland resident and MSI member. Deposition of

Susan Vizas (“Vizas Dep.”), Ex. 3, at 9:20–10:4. Ms. Vizas has never owned a firearm, however,

in 2015, Ms. Vizas decided that she wanted to purchase a handgun for self-defense, target practice,

the ability to inherent her father’s gun, and other lawful purposes. Id. at 18:4–12, 24:14–25:10.

Ms. Vizas has taken and passed the hunter safety training in the State of Maryland, but she has

been dissuaded from further pursuing purchase of a handgun because of the additional costs and



2
    Available at https://bit.ly/2NG7GtR (last visited Jan. 27, 2021).

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time commitment of acquiring a handgun pursuant to the HQL requirement. Id. at 36:20–37:3,

43:6–17.

       Plaintiff Deborah Kay Miller is a Maryland resident and MSI member employed by the

Department of Defense. D. Miller Dep., Ex. 4, at 8:8–12, 9:18–21, 29:10–11. Ms. Miller has never

owned a firearm, however, in 2017, she decided that she wanted to purchase a handgun so that she

would be able to defend herself in her own home. Id. at 13:17–18, 18:5–19:1. Ms. Miller

understands the financial burden of purchasing a handgun and despite the financial ability to do

so, she has not acquired a handgun because she cannot complete the required training under the

HQL requirement due to physical limitations. Id. at 21:15–17, 33:1–5, 34:10–17.

       B.      Maryland’s handgun possession laws

       In 1941, Maryland enacted a “Pistols” Subtitle to the Maryland Code to regulate the “sale,

identification marks and possession of pistols.” See 1941 Maryland Laws, Chapter 622. This

statute prohibited selling or transferring a handgun to persons convicted of a crime of violence or

to fugitives from justice. See Md. Code (1941), Art. 27, § 531(D)–(E), currently codified at Md.

Code Ann., Pub. Safety § 5-118. Maryland has since enacted four sets of laws intended to prevent

prohibited persons from acquiring handguns: the 77R Handgun Registration Requirement (1966),

the Gun Violence Act of 1996, the Responsible Gun Safety Act of 2000, and the Firearms Safety

Act of 2013 that included the HQL requirement.

       In 1966, Maryland enacted the 77R Handgun Registration requirement. See 1966 Maryland

Laws, Chapter 502. This law prohibited firearm dealers from transferring a handgun to a

prospective purchaser “until after seven days shall have elapsed from the time an application to

purchase or transfer shall have been executed by the prospective purchaser or transferee, . . . and

forwarded by the prospective seller . . . to the Superintendent of the Maryland State Police.” Md.




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Code (1966), Art. 27, § 442, currently codified at Md. Code Ann., Pub. Safety §§ 5-118, 5-120 &

5-123.

         The 77R Handgun Registration application requires the prospective purchaser’s identifying

information, including their “name, address, Social Security number, place and date of birth,

height, weight, race, eye and hair color, signature, driver’s [license] or photographic identification

soundex number, [and] occupation.” Md. Code Ann., Pub. Safety § 442, currently codified at Md.

Code Ann., Pub. Safety §§ 5-118, 5-121. The Maryland State Police use this information to

conduct a background check on the prospective firearm purchaser, including a National Instant

Background Check. See Deposition of Daniel Webster (“Webster Dep.”), Ex. 5, at 73:1–15;

Deposition of James Johnson (“J. Johnson Dep.”), Ex. 7, at 19:5–21:20.

         The 77R Handgun Registration requirement has ensured that individuals prohibited from

possessing firearms do not acquire or possess a handgun in Maryland. See Deposition of Andy

Johnson (“A. Johnson Dep.”), Ex. 6, at 116:1–11. Maryland’s compliance with the federal REAL

ID Act, see Dept. Homeland Sec., REAL ID Enforcement: Maryland,3 further ensures that the

Maryland “driver’s or photographic identification” is authentic because the REAL ID Act requires

Maryland to “include document security features on REAL ID driver’s licenses and identification

cards designed to deter forgery and counterfeiting, see 6 C.F.R. 37.15(a)–(b).4 Moreover, under



3
  Available at https://www.dhs.gov/real-id/maryland (last visited Jan. 27, 2021).
4
  6 C.F.R. 37.15(a)(b) (such ID cards “must contain at least three levels of integrated security
features that provide the maximum resistance to persons’ efforts to – (1) Counterfeit, alter,
simulate, or reproduce a genuine document; (2) Alter, delete, modify, mask, or tamper with data
concerning the original or lawful card holder; (3) Substitute or alter the original or lawful card
holder’s photograph and/or signature by any means; and (4) Create a fraudulent document using
components from legitimate driver’s licenses or identification cards.”) Moreover, “States must
employ security features to detect false cards,” including at a level of “[c]ursory examination,
without tools or aids involving easily identifiable visual or tactile features, for rapid inspection at
point of usage.” 6 C.F.R. 37.15(c).



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federal law, no Maryland resident may purchase a handgun in any state other than Maryland. 18

U.S.C. §§ 922(a)(3), (a)(5), (b)(3).

          The 77R Handgun Registration process also requires Maryland citizens to wait seven

business days after purchasing a handgun before taking possession of it. Md. Code Ann., Pub.

Safety § 5-123(a); Maryland State Police, Licensing Division Bulletin, LD-FRU-16-001 (Jan. 22,

2016).5 The Maryland State Police use the 77R Handgun Registration to register the applicant with

the Maryland State Police as a purchaser of that particular handgun, Md. Code Ann., Pub. Safety

§ 5-118(a), allowing Defendants to locate and disarm individuals who subsequently become

prohibited from handgun ownership, Webster Dep., Ex. 5, at 19:14–22:12.

         The Gun Violence Act of 1996 made the 77R Handgun Registration requirement applicable

to all handgun transfers, including gifts and private sales. Md. Code. Ann., Art. 27, § 445, currently

codified at Md. Code Ann., Pub. Safety § 5-124.

         The Responsible Gun Safety Act of 2000 expanded the 77R Handgun Registration

requirement to require all prospective handgun purchasers complete an hour-long, online firearm

safety course on Maryland firearm law, home firearm safety, and handgun mechanisms and

operation. Md. Code Ann., Pub. Safety § 5-118; Deposition of James Russell (“Russell Dep.”),

Ex. 8, at 83:7–11. A video on CD of the 77R Handgun Registration safety course was filed

previously identified as ECF 77-9 and can be viewed via Windows Media Player. The Police

Training Commission created this presentation and provided it to applicants without charge. Md.

Code Ann., Pub. Safety § 5-118(b)(3)(x) (2003), Ex. 10.




5
    Available at https://bit.ly/2M6OTHy.

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          C.      The HQL requirement (effective October 1, 2013 – present)

          Maryland now also requires all handgun purchasers to apply for and obtain an HQL before

undertaking the 77R Handgun Registration process. Md. Code Ann., Pub. Safety § 5-117.1

(“Section 5-117.1”). To apply for an HQL, Maryland citizens must submit: (1) an online

application and “a nonrefundable application fee to cover the costs to administer the program of

up to $50”; (2) proof of completion of a qualifying safety course within three years before

submitting an HQL application; (3) a complete set of fingerprints; and (4) “a statement made by

the applicant under the penalty of perjury that the applicant is not prohibited under federal or State

law from possessing a handgun.” Section 5-117.1(f)–(g).

          The HQL safety course must be live and last four hours. Section 5-117.1(d)(3). It replaces

the online, one-hour 77R Handgun Registration presentation but covers the same subject areas:

state firearm law, home firearm safety, and handgun mechanisms and operation. Russell Dep., Ex.

8, at 83:7–11. The HQL safety course may taken remotely as a temporary solution to issues caused

by in-person gathering during the COVID-19 pandemic. In addition to the safety course, HQL

applicants must also complete “a practice component in which the applicant safely fires at least

one round of live ammunition.” COMAR 29.03.01.29C(4). This component cannot be done

remotely. See Maryland State Police, Licensing Division Bulletin, LD-HQL-20-002 (July 28,

2020).6

          Unlike the 77R Handgun Registration safety course, the HQL safety course is not provided

by Maryland State Police. The Maryland State Police neither attempts to control the content of the

HQL safety course nor ensures that the required material is being taught. A. Johnson Dep., Ex. 6,

at 66:21–68:21; Russell Dep., Ex. 8, at 114:11–19; Pennak Decl., Ex. 2, at ¶ 4. Instead, each of the



6
    Available at https://rb.gy/4tofgg (last visited Jan. 27, 2021).

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hundreds of private instructors throughout Maryland may create his own course curriculum. See

Maryland State Police, Qualified Handgun Instructor (stating under frequently asked question

“How do instructors get the course information?” that “Instructors will be responsible for the

specific course and will attest/certify that they instructed the minimum criteria required in

SB281.”).7 HQL applicants are required to locate and arrange training through an approved

qualified handgun instructor and rely upon that instructor to verify training of the applicant with

the Maryland State Police through the instructor’s on-line account. Pennak Decl., Ex. 2, at ¶ 10.

       The complete set of fingerprints must be taken via “live-scan” technology by a State-

certified vendor. COMAR 12.15.05.05. Applicants must pay a $30 fee to the State-certified vendor

directly, plus any additional fee that the private, certified vendor decides to charge. See COMAR

12.15.05.07. The vendor submits the required fees to the Central Repository. COMAR

12.15.05.07; Md. Dept. Of Pub. Safety, Fingerprinting Services/Fingerprinting Courses.8 An

HQL application must be submitted within 72 hours of the time the prints are taken. Maryland

State Police, Fingerprinting.9 The Maryland State Police submits these fingerprints for a state and

national criminal history records check and conducts a background check. Section 5-117.1(f). This

is the same background check applicants undergo during the 77R Handgun Registration process,

except the 77R Handgun Registration background check does not rerun the prospective

purchaser’s fingerprints. Webster Dep., Ex. 5, at 38:11–39:3.

       The Maryland State Police must approve or deny an HQL application within 30 days of

receiving it. Section 5-117.1(h). After the Maryland State Police approves the HQL application,




7
  Available at https://bit.ly/3s8XeLc (last visited Jan. 27, 2021).
8
  Available at http://bit.ly/3sZdCOW (last visited Jan. 27, 2021).
9
  Available at https://bit.ly/2Ygxwqn (last visited Jan. 27, 2021).

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the Maryland State Police transmits the HQL to the applicant. Deposition of Diane Armstrong

(“Armstrong Dep.”), Ex. 11, at 220:20–22.

       At this point, Plaintiffs may begin the 77R Handgun Registration process, including

undergoing another background check and waiting an additional seven business days to take

possession of the handgun. Webster Dep., Ex. 5, at 38:18–39:3; Md. Code Ann., Pub. Safety § 5-

123. Throughout the duration of the HQL and 77R Handgun Registration processes (a minimum

of 38 days and often much longer), Defendants ban Maryland citizens from purchasing, renting,

or receiving a handgun and ban Maryland’s firearm retailers from selling handguns to these

individuals.

       D.      Defendants admit that the HQL requirement’s purpose and effect are to
               prevent law-abiding, responsible Maryland citizens from acquiring and
               possessing handguns.

       Defendants’ expert Professor Daniel Webster admits that Maryland implemented the HQL

requirement to “intimidat[e]” Maryland citizens to prevent them from exercising their

constitutional right to acquire a handgun. Webster Dep., Ex. 5, at 30:1–33:16. Webster’s view of

this legislation is particularly relevant here because he was the lead expert witness proffered by

then-Senator Brian Frosh in testimony before the Maryland General Assembly in support of the

legislation that became the HQL requirement. Id. at 165:19–175:2. Senator Frosh was the HQL

requirement’s primary sponsor. Id.

       Maryland’s goal of preventing handgun possession in Maryland is not new. In 1999, then-

Maryland Attorney General Joseph Curran published a special report with the stated “goal” of

“eliminat[ing] widespread handgun ownership through restrictive handgun licensing.” J. Joseph

Curran, A Farewell To Arms The Solution to Gun Violence in America, at 6, 63 (Oct. 20, 1999),

Ex. 12. He reiterated in 2000 that this goal “means” that “we should restrict the future sale of

handguns to those who can show a real, law enforcement need for one.” Symposium: Guns as a


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Consumer Product: New Public Health and Legal Strategies to Reduce Gun Violence, 4 J. Health

Care L. & Pol’y 1, 5 (2000).10 The HQL requirement implements Attorney General Curran’s view

that Maryland should use restrictive licensing to restrict handguns to only law enforcement

personnel.

       The HQL requirement is well on its way to accomplishing the goal of preventing handgun

possession. From 2013 to 2017, the HQL requirement discouraged nearly one-quarter of Maryland

citizens who wished to exercise their fundamental Second Amendment rights and who were

motivated enough to begin an HQL application from completing it and obtaining their HQL.

Compare Col. Pallozzi Third Supp. Interrog. Resp., Ex. 14, No. 5 (from October 1, 2013 through

2017, 30,877 Maryland citizens started an HQL application but stopped before completing it) with

Collective Ex. 15, Dep. Ex. 48, 105, 10611 (Maryland issued 93,155 HQLs during this same time).

Since 2018, 37,500 HQL applications were started but not submitted as final to the Maryland State

Police. Ex. 14. Atlantic Guns’ handgun sales decreased by 20 percent in the four years following

the HQL requirement’s enactment compared to the previous four years, confirming the HQL

requirement is a barrier to handgun acquisition by law-abiding citizens. Maryland Shall Issue, 971

F.3d at 210, 212 (reviewing the “uncontroverted evidence of [Atlantic Guns’] economic loss,”

including “[Mr.] Schneider’s uncontroverted testimony and declaration, along with the pertinent

Maryland State Police records and Atlantic Guns’ year-over-year sales records”). The precise

number of law-abiding citizens who wish to exercise their Second Amendment rights but who

never even start an HQL application because of the HQL requirement’s burdens is unknown but




10
 Available at https://bit.ly/3pYiOQy.
11
 The parties numbered all deposition exhibits sequentially. Because these exhibits were used in
multiple depositions, they are simply referred to as “Dep. Ex.”

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is certainly substantial. It includes at the very least the Individual Plaintiffs, many of MSI’s

members, and Atlantic Guns’ customers. Supra 5–7.

       E.      The HQL requirement is burdensome.

               1.      The HQL requirement is time-consuming.

       The HQL requirement imposes an additional statutorily-permissible 30-day waiting period.

Section 5-117.1(d), (h). Defendants’ review often takes much longer than 30-days. See Armstrong

Dep., Ex. 11, at 59:15–60:8. Since the HQL requirement took effect, more than 9,700 Maryland

citizens have had their HQL application denied at the 30-day mark as incomplete. A. Johnson

Dep., Ex. 6, at 123:7–124:7, 127:19–128:14, 139:4–140:18; Administrative Log, Ex. 21. These

HQL applications were denied not because the applicant submitted an incomplete application but

because the safety course instructor failed to timely submit the Firearms Safety Training

verification to the Maryland State Police or live-scan fingerprints were not transmitted by the

vendor to the Central Repository. Id.; Armstrong Dep., Ex. 11, at 187:2–190:20. In these instances,

Defendants’ review took longer than 30 days through no fault of the HQL applicants. Armstrong

Dep., Ex. 11, at 187:2–190:20. This delay is in addition to the 77R Handgun Registration process’s

mandatory seven-business-day post-purchase waiting period.

       In addition to the statutory delay, completing an HQL application takes time. Prospective

handgun purchasers must begin an application, find a firearm instructor, complete a half day of

firearm instruction in a classroom format, complete the live-fire requirement, locate a live-scan

fingerprint vendor, obtain fingerprints, and complete their application online.

       The safety course with live-fire requirement is burdensome. HQL applicants must schedule

and attend a safety course. Hoffman Dep., Ex. 16, at 22:16–23:1, 24:6–14. The HQL safety course

alone requires at least a half day of instruction. Section 5-117.1(d)(3)(i). Then, the applicant must

ensure that the HQL instructor submits the training verification to the Maryland State Police.


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Armstrong Dep., Ex. 11, at 47:1–48:12, 187:2–190:20. The live-fire requirement imposes upon

HQL applicants the burden to locate, schedule, and travel to a shooting range. There are no ranges

in Baltimore City or other urban areas accessible by mass transportation, requiring urban residents

to travel outside their cities for this training. See Pennak Decl., Ex. 2, at ¶¶ 15–19; A. Johnson

Dep., Ex. 6, at 53:1–14; see also Russell Dep., Ex. 8, at 128:22–129:16. This difficulty affects

more than a million Maryland citizens. Pennak Decl., Ex. 2, at ¶¶ 12–13, 18. The live-fire

requirement also requires the applicant to secure a firearm and ammunition. See Russell Dep., Ex.

8, at 176:16–177:14, 182:18–183:6.

          The fingerprint requirement is burdensome. The applicant must locate a fingerprint live-

scan vendor approved by the Maryland State Police, travel to that vendor, and have his or her

fingerprints taken. Armstrong Dep., Ex. 11, at 91:8–92:19. In contrast to shooting ranges that

cannot be found in urban areas, there are hardly any private fingerprinting vendors in rural areas,

including no vendors at all in small towns and even some entire counties, necessitating long drives.

See Md. Dept. of Pub. Safety, Fingerprinting Services/Fingerprinting Courses.12 For example,

there are no private vendors at all in Somerset, Kent, or Caroline Counties and only one vendor in

Queen Anne’s County in Stevensville. Id. There is no vendor north or east of Stevensville until

Elkton in Cecil County on the Eastern Shore. Id. West of the Chesapeake Bay, there is only one

vendor in all of Calvert County and only three in St. Mary’s County. Id. Western Maryland is also

poorly served, with only two vendors in Allegany County, located in Cumberland and Frostburg

and only eleven miles from each other. Id. There are no vendors at all between Frostburg and

McHenry in Garrett County to the west and between Cumberland and Hagerstown in Washington

County to the east. Id.



12
     Available at https://bit.ly/2YiqNw0 (last visited Jan. 27, 2021).

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          Once all of these steps are completed, the applicant must then log back online to complete

his application. The inconvenience and daunting complexity of all this are self-evident and are

confirmed by the volume of HQL-related complaints and questions received by the Maryland State

Police, totaling more than 40 phone calls and 50 emails per day. Armstrong Dep., Ex. 11, at

101:22–103:13, 139:18–140:12. The burdensomeness of this process also is confirmed by the fact

that nearly 25 percent of Maryland citizens who initiate an HQL application do not complete it.

Compare Col. Pallozzi Third Supp. Interrog. Resp., Ex. 14, No. 5 (from October 1, 2013 through

2017, 30,877 Maryland citizens started an HQL application but stopped before completing it) with

Collective Ex. 15 (Maryland issued 93,165 HQLs during this same time). More than 55,556 HQL

applications were initiated but not completed through 2017 and another 37,500 since then, totaling

more than 93,000 applications initiated but not completed. Ex. 14. In these instances, Defendants

have significantly delayed, if not outright deprived, a law-abiding Maryland citizen of his Second

Amendment right to acquire a handgun. Many more law-abiding citizens like the Individual

Plaintiffs are too daunted by the HQL requirement’s burdens to even start an HQL application.

                 2.      The HQL requirement is expensive.

          An HQL application costs well over $200. This includes $50 to submit the application,

Handgun Qualification License, Maryland State Police,13 $100 or more to complete the safety

course and live-fire requirement, Pennak Decl., Ex. 2, at ¶ 7, about $50 or more for live-scan

fingerprints, a $30 fee for fingerprint background check, and service fees charged by the vendor.

Pennak Dep., Ex. 17, at 22:15–19; Ex. 18; Schneider Dep., Ex. 19, at 17:7–18. This does not

include the costs of traveling to the fingerprint vendor and shooting range to complete the live-fire

requirement. By way of comparison, the average cost of a new handgun in Maryland in 2018 was



13
     Available at https://bit.ly/2MORpSZ (last visited Jan. 27, 2021).

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between approximately $500 and $600. Schneider Decl., Ex. 1, at ¶ 10. The $200+ out-of-pocket

costs of obtaining an HQL, plus the costs of time off from work and travel, is a disproportionate

financial burden on the exercise of a constitutional right. Under the 77R Handgun Registration

process, the cost was only $10 and required no time off from work to attend training or obtain

fingerprinting.

        F.        The HQL requirement is unnecessary and ineffective.

                  1.    The additional 30-day delay is unnecessary.

        Prior to the HQL requirement, Defendants investigated all potential handgun purchasers in

seven days. Md. Code Ann., Pub. Safety § 5-118; id. at § 5-123(a). Defendants have not provided

any support to justify a 30-day delay to process an HQL application. Defendants’ concession that

some “Handgun License applications have been processed the same business day that they are

received” confirms that the additional 30-delay allowed Section 5-117.1 is unnecessary. Col.

Pallozzi Interrog. Resp., Ex. 20, No. 7.

        Nearly 10,000 HQL applications have not been processed within 30 days. See

Administrative Log, Ex. 21; Declaration of Connor Blair, Ex. 27, at ¶ 8; Armstrong Dep., Ex. 11,

at 187:2–190:20. The primary reason for these delays is not the fault of the applicant. Instead, it is

because the safety course instructor failed to timely submit the Firearms Safety Training

verification to the Maryland State Police or the live-scan vendor failed to submit the live-scan

fingerprints to the Central Repository. A. Johnson Dep., Ex. 6, at 123:7–124:7, 127:19–128:14,

139:4–140:18; Administrative Log, Ex. 21; Armstrong Dep., Ex. 11, at 187:2–190:20. With such

significant delay attendant to processing and providing HQL applications, Defendants’ failure to

justify the necessity of the 30-day delay, let alone an extended indefinite delay in almost 10,000

applications, is a critical failure in carrying their burden of proof.




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               2.      The fingerprint requirement is unnecessary.

       The fingerprint requirement is unnecessary to positively identify handgun purchasers

because, as Defendants admit, the pre-existing 77R Handgun Registration already did so.

Maryland State Police’s corporate designee testified that:

       Q: Under the 77R process then and now individual purchasers of handguns are
       checked to see whether or not they are legally able to possess a handgun; correct?

       A. Yes.

       Q. And if they are legally able to possess a handgun under the 77R process,
       presumably they would also pass the [HQL] application process and obtain an
       HQL; correct?

       A. Yes.

A. Johnson Dep., Ex. 6, at 116:1–11; see also Webster Dep., Ex. 5, at 38:9–39:3 (HQL background

check is not “materially different” from subsequent 77R Handgun Registration background check);

Supplemental Declaration of Gary Kleck (“Kleck Supp. Decl.”), Ex. 28, at ¶ 15 (fingerprinting is

not necessary as disqualified persons virtually never use a false name at a retail seller to acquire a

firearm). Defendants positively identified with certainty all 77R Handgun Registration applicants

without requiring fingerprints. A. Johnson Dep. Ex. 6, at 112:8–11 (“Q. All right. The 77R required

positive identification of an applicant to purchase a handgun; correct? A. Yes, sir.”).

       The fingerprint requirement is also unnecessary for Defendants to locate and disarm

handgun owners who are subsequently disqualified from handgun ownership because, as

Defendants admit, the 77R Handgun Registration process already allowed Defendants to locate

and disarm handgun owners who were subsequently disqualified from handgun ownership.

Webster testified:

       Q: . . . When I purchase a handgun in Maryland, it’s registered with the Maryland
       State Police; am I correct?

       A. That’s correct.


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       Q. And the Maryland State Police has a registry of handgun ownership such that, if
       I were to be convicted of a disqualifying offense, they could readily look me up,
       determine if I owned a handgun, and dispossess me of that handgun; correct?

       A. That’s correct.

Webster Dep., Ex. 5, at 19:14–20:3. Webster confirmed that Defendants have “always been able

to do that.” See id. at 20:4–14.

       The fingerprint requirement is beneficial only for stopping a potential purchaser whose

fingerprints are already in the Central Repository and who attempts to use a false government-

issued photographic identification of another individual who does not have a criminal record.

Defendants have no evidence that anyone in Maryland has ever attempted to purchase a handgun

in such circumstances. A. Johnson Dep., Ex. 6, at 114:4–117:7. Because Maryland is now a REAL

ID compliant state, there is no likelihood that false Maryland identification will be used for such a

purchase. The fingerprint requirement is unnecessary.

               3.      The HQL safety course with live-fire requirement is unnecessarily
                       burdensome.

       The half-day, classroom training requirement is unnecessary because, as Defendants admit,

it teaches the same curricula as the one-hour, pre-recorded 77R Handgun Registration course

requirement. Supra 10. Defendants concede that there is no difference between the old and new

courses’ curricula, Russell Dep., Ex. 8, at 80:6–83:11, except that the classroom format allows for

questions and answers. Defs. MSJ, at 28. But Defendants submit no evidence that there are any

questions asked or answered in these training sessions, whether online or in person.

       The live-fire requirement is also unnecessary because, as Defendants admit, firing a single

round with a handgun is not helpful to acquire skills of safe operation and handling of a firearm.

J. Johnson Dep., Ex. 7, at 52:14–53:2; see Russell Dep., Ex. 8, at 106:8–108:7. The live-fire

requirement does, moreover, require that the instructor and the student travel to a range to fire the



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one live round required by the Maryland State Police. Under local laws applicable to millions of

Maryland citizens who live in the urban areas of Maryland, that discharge of live ammunition can

only be conducted at an established shooting range, of which there are very few in or around urban

areas, including none in the City of Baltimore. Pennak Decl., Ex. 2, at ¶¶ 13–22. This was known

to the Maryland State Police when they promulgated its live-fire regulation. Pennak Decl., Ex. 2,

at Ex. A, 8–12.

                 4.     The HQL requirement is ineffective.

         The HQL requirement has not improved public safety. Comparing Maryland crime data

for the four years prior to the six years since the HQL requirement took effect, the following have

all increased: homicides, shooting homicides, handgun homicides, shooting homicide rates,

handgun homicide rates, and the number of recovered handguns used in crime. See Md. Criminal

Statistical Data, Ex. 22. The HQL requirement has not reduced firearm homicides. See A. Johnson

Dep., Ex. 6, at 98:7–99:10; Moody Decl., Ex. 23, at ¶ 8; see also Ex. 22. Broadly speaking, permit-

to-purchase laws, like the HQL requirement, are not associated with any reduction in a state’s

firearm homicide rate. Moody Decl., Ex. 23, at ¶¶ 4, 17; See Kleck Decl., Ex. 24, at ¶¶ 5–23; Kleck

Supp. Decl., Ex. 28, at ¶¶ 5–9. In Baltimore, the homicide rate has skyrocketed since the HQL

requirement took effect, Ex. 22, topping all other major cities in 2017, see Luke Broadwater and

Ian Duncan, ‘Neighborhoods are crying out’: Baltimore has highest homicide rate of U.S. big

cities, The Baltimore Sun, Sept. 25, 2018.14 The homicide rate in Baltimore increased sharply in

2015 and has remained high ever since. E.g., Daniel Webster and Rebecca Williams, Reducing

Violence and Building Trust Data Guide Enforcement of Gun Laws in Baltimore, Johns Hopkins




14
     Available at https://bit.ly/2KHZXKy.



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Bloomberg School of Public Health Center for Gun Policy and Research, at 12 (June 4, 2020)15;

Everytown for Gun Safety, Gun Violence in Maryland, at 1 (Feb. 2020)16; Phil Davis and Phillip

Jackson, With Baltimore close to the 300-homicide mark again, leaders mull new approaches amid

some signs of improvement, The Baltimore Sun, Nov. 20, 2020 (“Baltimore’s homicide streak

began in 2015. . . .”)17.

        In the four years since the HQL requirement’s enactment, Maryland did not experience a

slower rate of growth in firearm homicide rates compared to states that do not have permit-to-

purchase laws like the HQL requirement. Moody Decl., Ex. 23, at ¶¶ 4, 12–14, 16–17. It is

unsurprising that the HQL requirement has not improved public safety in Baltimore or throughout

Maryland because the HQL requirement regulates handgun transactions in Maryland, but “[n]early

two-thirds of guns associated with crime in Baltimore come from out of state. And Maryland

overall now has the highest rate of out-of-state crime gun ‘imports’ in the country.” Ron Cassie,

The high-capacity handguns fueling Baltimore’s epidemic of violence increasingly enter the city

through an underground network of out-of-state traffickers. Can anything be done to turn off the

spigot?, Baltimore Magazine (Dec. 2020).18

        The fingerprint requirement, specifically, is ineffective. It does not deter straw purchasing

or purchasing with a false identification. J. Johnson Dep., Ex. 7, at 24:4–12. Defendants have no

evidence that the HQL requirement has stopped or deterred a single straw purchaser. Id. at 25:10–

16. Nor have Defendants attempted to determine the prevalence of straw purchasers in Maryland.

Id. at 28:6–14; A. Johnson Dep., Ex. 6, at 76:16–22. Likewise, Defendants have no information




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   Available at https://bit.ly/39fwIs2.
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   Available at https://bit.ly/3a4JTvg.
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   Available at https://bit.ly/3prQGW0.
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   available at https://bit.ly/3sT8gV9.

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regarding the number of purchases made with a false identification, information demonstrating

that the HQL requirement has reduced the number of handguns recovered in crime, or information

demonstrating that the HQL requirement has reduced the number of firearms it recovers from

prohibited individuals each year. A. Johnson Dep., Ex. 6, at 78:3–79:4, 88:21–89:2, 109:17–

110:11, 110:22–111:9, 117:3–7. Instead, Maryland implemented the fingerprint requirement,

under the guise of deterring straw purchasers, to “intimidat[e]” Maryland citizens and keep them

from exercising their constitutional right to acquire a handgun. Webster Dep., Ex. 5, at 30:1–33:16;

see also J. Johnson Dep., Ex. 7, at 24:14–25:3.

        The HQL safety course with live-fire training requirement also is ineffective. The

undisputed facts confirm that the live-fire training has had no positive effect on public safety in

Maryland. Defendants have no information regarding the number of unintentional accidental

shootings in Maryland each year. A. Johnson Dep., Ex. 6, at 75:17–76:11. Defendants present no

evidence demonstrating that accidental shootings are a problem, and Defendants’ expert admits

that the live-fire requirement is not adequate. J. Johnson Dep., Ex. 7, at 52:14–53:2. Nor do

Defendants present any information demonstrating that the HQL requirement has affected gun

storage practices in Maryland or that gun storage is a problem in Maryland. A. Johnson Dep., Ex.

6, at 109:17–110:11.

                                       Standard of Review

        Federal Rule of Civil Procedure 56 requires that “[t]he court shall grant summary judgment

if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” To defeat a motion for summary judgment, Defendants

must do more than create “some alleged factual dispute between the parties.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 247–48 (1986). Defendants must demonstrate a genuine issue to a

material fact. Id.


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       Defendants have the burden to establish the constitutionality of the HQL requirement.

United States v. Carter, 669 F.3d 411, 417 (4th Cir. 2012) (remanding Second Amendment

challenge to the district court because the State had not satisfied its burden of demonstrating the

statute’s constitutionality); see also Cox v. City of Charleston, SC, 416 F.3d 281, 284 (4th Cir.

2005) (“An ordinance that requires individuals or groups to obtain a permit before engaging in

protected speech is a prior restraint on speech. . . . As a prior restraint, the Ordinance is laden with

‘a heavy presumption against its constitutional validity,’ and the City bears the burden of proving

its constitutionality.”). Defendants must carry their burden whether the Court analyzes the

constitutionality of the HQL requirement under the text, history, and tradition standard or under

the two-part approach. See Corcoran v. Sessions, 261 F. Supp. 3d 579, 598 n.37 (D. Md. 2017)

(“While a cursory search for arguably relevant evidence revealed cases and a Maryland Attorney

General opinion tracing the history of the Maryland Firearms Prohibitions as well as relevant social

science studies, it is for the State Defendants to marshal the appropriate evidence, not the Court.”).

          Argument in Support of Plaintiffs’ Cross-motion for Summary Judgment

       The HQL requirement violates Maryland citizens’ fundamental right to acquire a handgun

in the home for self-defense, whether analyzed under the Supreme Court’s text, history, and

tradition analysis or under the Fourth Circuit’s two-part approach. Heller, 554 U.S. at 628–29;

McDonald v. Chicago, 561 U.S. 742, 750 (2010); see also Teixeira v. Cty. of Alameda, 873 F.3d

670, 677 (9th Cir. 2017) (en banc) (“As with purchasing ammunition and maintaining proficiency

in firearms use, the core Second Amendment right to keep and bear arms for self-defense wouldn’t

mean much without the ability to acquire arms.”) (quotation omitted, collecting cases), cert.

denied, 138 S. Ct. 1988 (2018). It also violates Maryland’s firearm retailers’ right to sell handguns.

Maryland Shall Issue, 971 F.3d at 214 (holding that Atlantic Guns has standing to assert its Second

Amendment right to sell handguns).


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       A.      The HQL requirement is unconstitutional because it is inconsistent with the
               Second Amendment’s text, history, and tradition.

       In Heller, the Supreme Court struck down as unconstitutional a handgun ban and provided

an extensive analysis of the Second Amendment’s text, history, and tradition, establishing the

process for determining whether a challenged law violates the Second Amendment. Heller, 554

U.S. at 576–625. Firearm regulations that are not rooted in the text, history, and tradition of the

Second Amendment are unconstitutional because they are not consistent with the Second

Amendment. See id. Heller established that a ban of handguns—a class of firearms that are

commonly possessed by law-abiding citizens—is inconsistent with the text, history, and tradition

of the right and the Court should not resort to any further analysis. Id. at 636. Because there is no

textual or historical support for a handgun ban, it is a policy choice that is simply “off the table,”

and is unconstitutional per se. Id.

       Heller precludes interest-balancing by “future legislatures or (yes) even future judges.” Id.

at 634–35 (declining to adopt either Justice Breyer’s explicit interest-balancing inquiry or the

enhanced intermediate or strict scrutiny often applied in the First Amendment arena). The Court

held that such interest-balancing is inappropriate because the Second Amendment was “the very

product of interest balancing” at the time of its enactment, and the right of law-abiding, responsible

citizens to use arms is elevated above all other interests. Heller, 554 U.S. at 635 (emphasis in

original). Like the Second Amendment, several other individual rights are subject to “categorical

constitutional guarantees” rather than open-ended balancing tests. See Heller v. District of

Columbia (“Heller II”), 670 F.3d 1244, 1283 (D.C. Cir. 2011) (Kavanaugh, J., dissenting) (citing

Crawford v. Washington, 541 U.S. 36, 67–68 (2004) (recognizing a categorical constitutional

guarantee under the Sixth Amendment for the accused to be confronted with the witness against

him)). Consistent with this approach, the Court struck down a handgun ban notwithstanding



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evidence that handgun violence presents a serious problem in the United States. Heller, 554 U.S.

at 634–35.

       The Supreme Court’s subsequent McDonald and Caetano decisions that affirmed Heller’s

text, history, and tradition standard is the only proper analysis for evaluating the constitutionality

of the HQL requirement. McDonald, 561 U.S. at 790–91 (rejecting the notion that judges will be

forced to make difficult empirical judgments because doing so is precluded by the Court’s holding

and analysis in Heller); Caetano v. Massachusetts, 136 S. Ct. 1027, 1027–28 (2016) (vacating and

remanding where state supreme court failed to apply Heller’s reasoning and analysis to a stun gun

ban). In both cases, the Supreme Court stayed true to Heller’s text, history, and tradition analysis

and chose not to engage in any form of interest balancing. Taken together, Heller, McDonald, and

Caetano are unequivocal: the only analysis for a handgun ban is Heller’s text, history, and tradition

approach, which demonstrates that such a ban is unconstitutional per se.

       Justices Gorsuch, Kavanaugh, and Barrett, who joined the Supreme Court after Heller,

have expressed their agreement with Heller’s standard. New York State Rifle & Pistol Ass’n, Inc.

v. City of New York, 140 S. Ct. 1525, 1527, 1541 (2020) (Justice Gorsuch joining Section IV.A of

Justice Alito’s dissent, which would have held a city ordinance unconstitutional under Heller’s

text, history, and tradition analysis); id. at 1527 (Kavanaugh, J., concurring) (citing Heller II, 670

F.3d at 1271 (Kavanaugh, J., dissenting) (“In my view, Heller and McDonald leave little doubt

that courts are to assess gun bans and regulations based on text, history, and tradition, not by a

balancing test such as strict or intermediate scrutiny.”)); Kanter v. Barr, 919 F.3d 437, 464–65

(7th Cir. 2019) (Barrett, J., dissenting) (analyzing history and tradition to conclude that the

government may not categorically disarm non-violent felons).




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         Maryland bans its law-abiding citizens from acquiring handguns unless they first obtain an

HQL. Maryland also bans its firearm retailers from selling handguns to law-abiding, responsible

citizens who lack an HQL. Section 5-117.1’s plain language makes clear that this is a ban,

prohibiting with narrow exception all Maryland citizens from “purchas[ing], rent[ing], or

receiv[ing] a handgun” unless they “possess[] a valid handgun qualification license issued to the

person by the Secretary in accordance with this section.” Section 5-117.1(b)–(c). Maryland added

to its already-effective 77R Handgun Registration requirement the complex and burdensome

requirements of the HQL application that impose an additional delay of 30 days or more upon a

law-abiding citizen seeking to acquire a handgun. Burdening the acquisition of a handgun with an

unnecessary regulatory scheme is a ban plain and simple. Under Heller, the inquiry ends here and

the HQL requirement cannot stand.

         Even if the HQL requirement is not considered a permanent or outright ban, it is

unconstitutional under Heller because it is inconsistent with the Second Amendment’s text,

history, and tradition. There is no historical antecedent for the HQL application’s requirements

(whether individually or taken together), and Defendants present no evidence of any. There is no

historical antecedent for training as a prerequisite on the exercise of the right. Defendants note that

firearm owners have historically been responsible but present no evidence that the exercise of the

right has been conditioned upon satisfying a training requirement. Defs. MSJ, at 25–26. There is

no antecedent for either a live fire exercise or fingerprinting as a prerequisite to the exercise of the

right.

         Defendants cite National Rifle Ass’n of America, Inc. v. Bureau of Alcohol, Tobacco,

Firearms, & Explosives (“BATFE”), 700 F.3d 185 (5th Cir. 2012), for evidence that certain

colonial-era laws “[kept] track of who in the community had guns.” Id. at 200. Not only is the




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HQL requirement not a firearms registry—the 77R Handgun Registration does this—but the laws

referenced in BATFE were not firearm registries as a prerequisite to ownership. Id. (citing Saul

Cornell & Nathan DeDino, A Well Regulated Right: The Early American Origins of Gun Control,

73 Fordham L.Rev. 487, 508–09 (2004)). These militia laws were not at all analogous to the HQL

requirement, which mandates extensive training, a live fire exercise, fingerprinting, and multiple

background checks before law-abiding, responsible Maryland citizens may purchase a handgun

for self-defense in their homes. They were instead laws mandating firearm possession for militia

use. Cornell & DeDino, supra, at 508–09. Those who did not possess firearms and did not show

up for “musters” (with the arms they already possessed) were fined. Id. at 509–10. The colonial

era laws referenced in BATFE did not regulate or condition firearm possession, like the HQL

requirement does.

        Because the HQL requirement is inconsistent with the Second Amendment’s text, history,

and tradition, it is unconstitutional.

        B.      The HQL requirement is unconstitutional because it is a pretext to reduce the
                exercise of a constitutional right.

        Defendants’ purported public safety interests are an unconstitutional pretext for preventing

law-abiding Maryland citizens from acquiring and possessing handguns. Maryland enacted the

HQL requirement to “intimidate” the citizens of Maryland from acquiring a handgun as part of a

restrictive licensing scheme designed to impede handgun purchases. Webster Dep., Ex. 5, at 30:1–

33:16; see also J. Johnson Dep., Ex. 7, at 24:14–25:3. Second Amendment jurisprudence makes

clear that this is unconstitutional. State v. Reid, 1 Ala. 612, 616–17 (1840) (“A statute which, under

the pretense of regulating, amounts to a destruction of the right . . . [is] clearly unconstitutional.”)

(cited in e.g., Heller, 554 U.S. at 629).




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        In Saenz v. Roe, 526 U.S. 489 (1999), the Supreme Court held that “[i]f a law has ‘no other

purpose . . . than to chill the assertion of constitutional rights by penalizing those who choose to

exercise them, then it [is] patently unconstitutional.’” Id. at 499 n.11 (quoting United States v.

Jackson, 390 U.S. 570, 581 (1968) (brackets and ellipsis the Court’s)); see also Murdock v.

Commonwealth of Pa., 319 U.S. 105, 110–11 (1943) (the state may not enact a law for the purpose

of reducing the exercise of a constitutional right). Nor may a state suppress adverse secondary

effects of a constitutional right by suppressing the right itself. See, e.g., City of L.A. v. Alameda

Books, Inc., 535 U.S. 425, 449–50 (2002) (Kennedy, J., concurring) (“It is no trick to reduce

secondary effects by reducing speech or its audience; but [the government] may not attack

secondary effects indirectly by attacking speech.”).

        This principle applies with equal force in the Second Amendment context. For instance, in

Heller v. District of Columbia (“Heller III”), 801 F.3d 264 (D.C. Cir. 2015), the United States

Court of Appeals for the District of Columbia Circuit struck down the District’s ban on registering

more than one pistol per month. Id. at 280. The District defended that ban by claiming that the

registration requirement at issue advanced police protection by allowing police to check the

registry before approaching an individual or their home. Heller III, 801 F.3d at 298. But because

the District admitted that it did not actually check the registry, the Court held that this justification

could not be used to support the law at issue. Id. The District also defended the ban because it

“promote[d] public safety by limiting the number of guns in circulation,” based on its theory “that

more guns lead to more gun theft, more gun accidents, more gun suicides, and more gun crimes.”

Id. The court rejected that defense because “taken to its logical conclusion, that reasoning would

justify a total ban on firearms kept in the home.” Id.; see also Grace v. Dist. of Columbia, 187 F.

Supp. 3d 124, 148 (D.D.C. 2016), aff’d sub nom. Wrenn v. Dist. of Columbia, 864 F.3d 650 (D.C.




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Cir. 2017) (“it is not a permissible strategy to reduce the alleged negative effects of a

constitutionally protected right by simply reducing the number of people exercising the right”

(quotation marks omitted)).

       Maryland has long had the stated “goal” of “eliminat[ing] widespread handgun ownership

through restrictive handgun licensing.” Ex. 12, at 6. The HQL requirement effectuates the goal of

reducing Maryland citizens’ exercise of their Second Amendment constitutional rights. The HQL

requirement is intended to intimidate Maryland citizens from exercising their constitutional rights,

see Webster Dep., Ex. 5, at 30:1–33:16, and it has indisputably had this effect. Supra 11–13.

Defendants’ interests are pretextual, and the HQL requirement fails any level of scrutiny for this

reason alone.

       The undisputed facts demonstrate that Maryland’s public safety interest is a pretext to

further burden and deter law-abiding Maryland citizens from acquiring a handgun. For example,

Defendants claim that fingerprints could be used to identify HQL holders who subsequently

become disqualified from possessing a firearm, but the Maryland State Police does not actually do

this. A. Johnson Dep., Ex. 6, at 136:11–16. Defendants’ claim is akin to the District of Columbia’s

unsubstantiated and unsuccessful claims in Heller III. Similarly, Defendants concede that they do

not monitor, control, or govern the HQL safety course’s content. E.g., id., at 66:21–68:21.

Defendants instead allow individual HQL instructors to create their own curricula, allowing for

substantial variation between courses. Russell Dep., Ex. 8, at 67:18–68:2, 69:18–71:8. The

exceptions to the safety course with live-fire requirement further illustrate the pretextual nature of

Defendants’ claimed interests. Those who move to Maryland are required to register their handgun

within 90 days of establishing residency but are not required to take any safety course. Md. Code

Ann., Pub. Safety § 5-143(a). Likewise, applicants with a hunting license from any jurisdiction are




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exempted from the live-fire requirement whether or not the hunting training involved live-fire of

a handgun. A. Johnson Dep., Ex. 6, at 68:17–21. Defendants concede that their justification for

this requirement is specious because they admit that “firing one round is not adequate.” J. Johnson

Dep., Ex. 6, at 52:9–53:2; see also Pennak Decl., Ex. 2, at ¶¶ 7–19. This requirement is designed

to erect a barrier to access for those living in urban areas like Baltimore City where no ranges can

be found or reached by mass transportation. The undisputed facts demonstrate that the HQL

requirement is a pretext to further burden and discourage law-abiding Maryland citizens from

acquiring a handgun.

        C.      The HQL requirement is unconstitutional under the two-part approach used
                by the Fourth Circuit.

        The HQL requirement is also unconstitutional under the two-part analysis employed by the

Fourth Circuit. Kolbe, 849 F.3d at 133. Under this analysis, a court must first determine whether

the challenged law burdens conduct protected by the Second Amendment as it was historically

understood. Id. at 133. If it does, the court must then apply an appropriate form of heightened

scrutiny. Id. The HQL requirement burdens conduct within the Second Amendment’s guarantee.

Strict scrutiny is the only appropriate level of scrutiny because the HQL requirement burdens the

Second Amendment’s core right. And the HQL requirement cannot survive strict scrutiny because

it is not the least restrictive alternative to achieve a compelling interest.

                1.      The HQL requirement burdens conduct within the scope of the Second
                        Amendment’s guarantee.

        Both Defendants and the Fourth Circuit agree that the HQL requirement burdens conduct

within the scope of the Second Amendment’s guarantee. In denying Defendants’ Motion to

Dismiss, Judge Garbis noted that “Defendants do not deny that the HQL Provision and

implementing regulations burden conduct within the scope of the Second Amendment, namely,

the ability of a law-abiding citizen to attain a handgun for use in the home for self defense.” Order


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on Defs. Mot. to Dismiss, ECF 34, at 13. The Fourth Circuit confirmed that the HQL requirement

burdens conduct within the scope of the Second Amendment’s guarantee by holding that “the HQL

requirement undoubtedly constrains Atlantic Guns’ ability to sell handguns and limits its potential

customer base” and that this “injury is redressable because the injunctive relief sought here would

allow it to sell handguns to a broader range of potential customers.” Maryland Shall Issue, 971

F.3d at 214. Atlantic Guns brings only a Second Amendment challenge to the HQL requirement.

By holding that Atlantic Guns’ Second Amendment injury is redressable, the Fourth Circuit

necessarily held that the HQL requirement injures (i.e., burdens) conduct within the scope of the

Second Amendment. See id. Heller is clear: “Whatever else [the Second Amendment] leaves to

future evaluation, it surely elevates above all other interests the right of law-abiding, responsible

citizens to use arms in defense of hearth and home.” Heller, 554 U.S. at 635. The HQL requirement

burdens precisely this right and falls squarely within the scope of the Second Amendment.

       The HQL requirement is not presumptively constitutional. It does not fit within the

longstanding regulations noted in Heller. Id. at 626–27 n.26 (noting as “presumptively

constitutional lawful regulatory measures” such as “longstanding prohibitions on the possession

of firearms by felons and the mentally ill . . . or laws imposing conditions and qualifications on

the commercial sale of arms”). The HQL requirement affects law-abiding and responsible citizens

and is not a longstanding prohibition or condition on the commercial sale of arms. Both courts to

address government-imposed delays on handgun acquisition agree. In Silvester v. Harris, 41 F.

Supp. 3d 927, 962 (E.D. Cal. 2014), the United States District Court for the Eastern District of

California stated that “in terms of Heller’s longstanding presumptively lawful regulations,

Defendant has not established that the 10-day waiting period is a presumptively lawful

longstanding regulatory measure that imposes a condition and qualification on the commercial sale




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of a firearm.” The United States Court of Appeals for the Ninth Circuit confirmed this, finding that

historically, “[d]elays of a week or more were not the product of governmental regulations, but

such delays had to be routinely accepted as part of doing business.” Silvester v. Harris, 843 F.3d

816, 827 (9th Cir. 2016), cert. denied, 138 S. Ct. 945 (2018).

       Defendants cursorily and incorrectly argue that the HQL requirement imposes “conditions”

but not a “burden” on this right. Defs. MSJ, at 13–14, relying on Planned Parenthood of Se. Pa.

v. Casey, 505 U.S. 833, 873 (1992) (evaluating a restriction on abortion rights under a very

different “undue burden” standard). Defendants cite no authority for this semantical distinction

here, and none exists. To the contrary, in the analogous First Amendment context, the Supreme

Court has held that “requiring a permit as a prior condition on the exercise of the right to speak

imposes an objective burden on some speech of citizens holding [certain views].” Watchtower

Bible & Tract Soc’y of N.Y., Inc. v. Vill. of Stratton, 536 U.S. 150, 167 (2002).

       Defendants also incorrectly argue that “plaintiffs have failed to identify even a single

individual who was deterred from purchasing a handgun due to the HQL law” and have also failed

to “produce[] any evidence that any law-abiding, responsible citizen has been deprived of the right

to purchase a handgun for in-home self-defense due to any inability to comply with the HQL law.”

Defs. MSJ, at 13. The record is replete with evidence of individuals who have been deterred from

obtaining a handgun because of the HQL requirement. Both Individual Plaintiffs have been so

deterred. The undisputed facts demonstrate that Ms. Vizas wanted to purchase a handgun for self-

defense, target practice, the ability to inherent her father’s gun, and other lawful purposes but has

not because of the additional costs and time commitment of acquiring a handgun pursuant to the

HQL requirement. Vizas Dep., Ex.3, at 18:4–12, 24:14–25:10. 36:20–37:3, 43:6–17. Ms. Miller,

too, decided that she wanted to purchase a handgun for self-defense in her home but has not




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because she has a physical disability that would make it very difficult to sit through the four hours

of classroom training required by the HQL requirement, thereby making it futile for her to apply.

Miller Dep., Ex. 4, at 13:17–18, 18:5–19:1, 33:1–34:17.

       MSI’s members have also been deterred from obtaining a handgun due to the HQL

requirement. The undisputed facts confirm that MSI members Scott Miller and John Clark have

not acquired a handgun because of the HQL requirement’s burdens. Miller Dep., Ex. 25, at 24:4–

25:11; Clark Dep., Ex. 26, at 14:22–19:15.

       Evidence of Atlantic Guns’ handgun sales confirms the HQL requirement deters its

customers from acquiring a handgun. See Maryland Shall Issue, 971 F.3d at 213 (“Atlantic Guns

has turned away customers who lacked a license. Indeed, certain customers had even gone so far

as to put down a deposit—which Atlantic Guns returned when they failed to acquire an HQL. . . .

[P]rospective handgun purchasers have confirmed that they have ‘been deterred from purchasing

a handgun because of the HQL law.’”). Defendants’ own records demonstrate beyond dispute that

the HQL requirement has severely impacted Atlantic Guns’ business. Schneider Decl., Ex. 1, at

¶ 9 & Ex. A. In the four years since the HQL requirement took effect (2014–2017), Atlantic Guns

has lost approximately 20 percent of its average annual handgun sales compared to the four-year

period preceding the HQL requirement’s implementation in 2013 (2009–2012).19 Id. Atlantic

Guns’ uncontroverted evidence establishes that it has turned away customers on a weekly basis

because they lacked an HQL, totaling hundreds of customers since the imposition of the HQL

requirement. Id. at ¶ 8.




19
  Atlantic Guns’ handgun sales data for the year 2013 are not used in the comparison to avoid the
distorting effects of the sales increase following the Newtown shooting in mid-December 2012
and the run up of sales prior to the HQL requirement’s effective date on October 1, 2013.

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       The individuals identified by Plaintiffs do not even include the tens of thousands of law-

abiding, responsible citizens who wish to acquire a handgun for lawful purposes and have begun

but not completed an HQL application or who have not even begun an HQL application at all.

Supra 15. The undisputed facts demonstrate that the HQL requirement has discouraged at least

one-quarter of Maryland citizens who wish to exercise their fundamental Second Amendment

rights from doing so. Compare Col. Pallozzi Third Supp. Interrog. Resp., Ex. 14, No. 5 (from

October 1, 2013 through 2017, 30,877 Maryland citizens started an HQL application but stopped

before completing it) with Collective Ex. 15 (Maryland issued 93,165 HQLs during this same

time); see also Ex. 14 (Since 2018, 37,500 HQL applications were started but not submitted as

final to the Maryland State Police).

       The HQL requirement’s burdens are real and work to prevent law-abiding, responsible

Maryland citizens from exercising their Second Amendment rights. Because the HQL requirement

burdens conduct within the scope of the Second Amendment and is not presumptively

constitutional, the Court must progress to the second part of the analysis and determine the level

of heightened scrutiny to apply in reviewing the HQL requirement.

               2.      Strict scrutiny applies because the HQL requirement severely burdens
                       the Second Amendment’s core right.

       Should the Court engage in a means-end analysis, Fourth Circuit precedent requires strict

scrutiny. See ECF 34, at 13. From the time that it adopted the two-part analysis in United States v.

Chester, 628 F.3d 673 (4th Cir. 2010), the Fourth Circuit has stated repeatedly that if a challenged

law implicates the core right of a law-abiding, responsible citizen to possess a firearm in his or her

home, the law is subject to a strict scrutiny analysis. For instance, in Chester, the defendant, a

misdemeanant, unsuccessfully moved to dismiss his indictment on the grounds that the Supreme

Court had identified only the mentally ill and felons as classes of persons that could be denied the



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right to possess firearms. Chester, 628 F.3d at 673. The Fourth Circuit declined to apply strict

scrutiny to the prohibition on ownership of firearms by misdemeanants, explaining:

       Although Chester asserts his right to possess a firearm in his home for the purpose
       of self-defense, we believe his claim is not within the core right identified in Heller
       – the right of a law-abiding, responsible citizen to possess and carry a weapon for
       self-defense – by virtue of Chester’s criminal history as a domestic violence
       misdemeanant. Accordingly, we conclude that intermediate scrutiny is more
       appropriate than strict scrutiny for Chester and similarly situated persons.

Id. at 682–83 (emphasis in original).

       The undisputed facts demonstrate that Plaintiffs possess the critical characteristic lacking

in defendant Chester: they are law-abiding, responsible citizens who seek to acquire a handgun for

self-defense in the home. They do not fall into any less-protected category, and a ban on their

ability to acquire a handgun for self-defense in their home is subject to strict scrutiny.

       Subsequently, the Fourth Circuit opined that a ban on possession of firearms in the home

is subject to strict scrutiny: “As we observe that any law regulating the content of speech is subject

to strict scrutiny, . . . we assume that any law that would burden the ‘fundamental,’ core right of

self-defense in the home by a law-abiding citizen would be subject to strict scrutiny.” United States

v. Masciandaro, 638 F.3d 458, 470 (4th Cir. 2011); see also United States v. Carter, 669 F.3d 411,

416 (4th Cir. 2012) (“[W]e have noted that the application of strict scrutiny is important to protect

the core right of self-defense identified in Heller.”). The court in Woollard v. Gallagher, 712 F.3d

865 (4th Cir. 2013) agreed, adding that intermediate scrutiny applies to bearing arms outside the

home, rejecting the view that would “place the right to arm oneself in public on equal footing with

the right to arm oneself at home, necessitating that we apply strict scrutiny . . .” Id. at 878. In

Kolbe, 849 F.3d at 138, the court applied intermediate scrutiny rather than strict scrutiny because

the challenged law left “citizens free to protect themselves with . . . most importantly – handguns.”

Applicable Fourth Circuit law mandates that strict scrutiny is the proper standard of review when



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a law like the HQL requirement infringes on the right of a law-abiding, responsible citizen “to arm

oneself at the home.” Woollard, 712 F.3d at 878.

                3.      Defendants cannot meet their burden under strict scrutiny because the
                        HQL requirement is not the least restrictive alternative to achieve a
                        compelling interest.

        To satisfy strict scrutiny, Defendants must establish that the challenged laws are narrowly

tailored to promote a compelling government interest. Centro Tepeyac v. Montgomery Cty., 722

F.3d 184, 189 (4th Cir. 2013). To be narrowly tailored, the law must employ the least restrictive

means to achieve the interest. See United States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 813

(2000); see also Sons of Confederate Veterans, ex rel. Griffin v. Comm’r of the Va. Dep’t. of Motor

Vehicles, 288 F.3d 610, 626 (4th Cir. 2002). Thus, “[i]f a less restrictive alternative would serve

the Government’s purpose, the legislature must use that alternative.” Playboy, 529 U.S. at 813.

Defendants do not have a legitimate interest in discouraging the exercise of the right itself, so the

only conceivable interest is to protect public safety and deter crime. See Giovani Carandola, Ltd.

v. Bason, 303 F.3d 507, 521 (4th Cir. 2002) (“[U]pholding constitutional rights surely serves the

public interest.”). The HQL requirement does neither. It certainly is not the “least restrictive”

means of achieving those goals. Rather, the HQL requirement imposes redundant and unnecessary

burdens, over and above the existing 77R Handgun Registration process, on law-abiding Maryland

citizens’ constitutional right to acquire a handgun. It necessarily fails strict scrutiny.

                     a. The additional 30-day delay is not the least restrictive alternative to
                        achieve a compelling interest.

        Maryland allows Defendants up to 30 days to approve or deny a completed HQL

application (in addition to the time it takes to complete an HQL application and subsequent 77R

Handgun Registration process), explicitly banning law-abiding Maryland citizens from exercising

their Second Amendment right to acquire a handgun during this period. Defendants have not



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articulated any interest this delay achieves, though it is presumably to ease Defendants’

administrative burden in reviewing HQL applications. Defendants’ administrative burden is not a

compelling interest. See Chester, 628 F.3d at 692 (noting that “Section 922(g)(9) is not merely

intended to accomplish bureaucratic shortcuts or administrative convenience”) (Davis, J.,

concurring); Bonidy v. U.S. Postal Serv., 790 F.3d 1121, 1127 (10th Cir. 2015) (“Of course,

administrative convenience and economic cost-saving are not, by themselves, conclusive

justifications for burdening a constitutional right under intermediate scrutiny.”); Heller III, 801

F.3d at 287 (Henderson, J., concurring in part and dissenting in part) (same). The undisputed fact

that Defendants processed 77R Handgun Registration applications within seven business days

prior to the HQL requirement, and still do every time a licensee purchases a handgun, demonstrates

that the HQL requirement cannot be the least restrictive means to achieve Defendants’ unidentified

interests.

                   b. The fingerprint requirement is not the least restrictive alternative to
                      achieve a compelling interest.

        Defendants claim the fingerprint requirement allows them to positively identify HQL

applicants, allowing them to “mak[e] it more difficult for a prohibited person to obtain access to a

firearm.” Col. Pallozzi Interrog. Resp., Ex. 20, No. 20; A. Johnson Dep., Ex. 6, at 111:19–112:7.

Defendants also claim that the fingerprint requirement allows them to disarm those who become

prohibited after legally purchasing a handgun. See A. Johnson Dep., Ex. 6, at 40:1–3, 65:7–13.

        But Defendants admit that the 77R Handgun Registration requirement already allowed

Defendants to accomplish this same interest. Supra 18–19. Because the 77R Handgun Registration

requirement was less restrictive and accomplished Defendants’ interest, the HQL requirement’s

fingerprint requirement is necessarily not the least restrictive alternative. Playboy, 529 U.S. at 813.




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                    c. The classroom training with live-fire requirement is not the least
                       restrictive alternative to achieve a compelling interest.

        The HQL safety course requirement is not the least restrictive means to achieve

Defendants’ interest because the safety course required under the 77R Handgun Registration

process was sufficient and less burdensome. Supra 20. The safety courses’ curricula are

substantively identical. Compare Md. Code Ann., Pub. Safety § 5-117.1(d) with Ex. 9. Defendants

cannot dispute this fact because they concede that they do not control or even have the ability to

monitor the content of the safety course’s instruction. E.g., A. Johnson Dep., Ex. 6, at 66:21–68:21.

Further, by exempting those who happen to “lawfully own a [handgun]” before the HQL

requirement went into effect, Section 5-117.1(e)(6), Defendants tacitly admit that the 77R

Handgun Registration’s safety course already achieved Defendants’ interest because these

individuals watched only the 77R Handgun Registration video safety presentation. Defendants also

admit that the HQL’s live-fire component, requiring applicants to fire a single round, is not helpful

to acquiring skills of safe firearm operation and handling. J. Johnson Dep., Ex. 7, at 52:14–53:2;

see Russell Dep., Ex. 8, at 106:8–108:7. Because the 77R Handgun Registration requirement was

less restrictive and accomplished Defendants’ interest, the HQL requirement’s safety course with

live-fire requirement is necessarily not the least restrictive alternative.

        Because the HQL requirement is inconsistent with the Second Amendment’s text, history,

and tradition, it is unconstitutional under Heller. Because HQL requirement burdens the Second

Amendment’s core right but is not narrowly tailored to a compelling interest, it is also

unconstitutional under Kolbe’s two-part analysis.

          Argument in Opposition to Defendants’ Motion for Summary Judgment

        Defendants’ motion for summary judgment defended the HQL requirement only under the

intermediate scrutiny standard and made no effort to justify it under either Heller’s text, history,



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and tradition standard or strict scrutiny. Not only is the HQL requirement unconstitutional under

Heller’s standard and under strict scrutiny, it is also unconstitutional under intermediate scrutiny.

       A.      The HQL requirement fails intermediate scrutiny.

       Kolbe stated that intermediate scrutiny “requires the government to show that the

challenged law ‘is reasonably adapted to a substantial governmental interest.’” Kolbe, 849 F.3d at

133 (quoting Masciandaro, 638 F.3d at 471). After Kolbe was decided, the Supreme Court made

clear that “to survive intermediate scrutiny, a law must be ‘narrowly tailored to serve a significant

governmental interest.’” Packingham v. N.C., 137 S. Ct. 1730, 1732 (2017) (quoting McCullen v.

Coakley, 573 U.S. 464, 486 (2014)). This Court must use the Supreme Court’s articulation of

intermediate scrutiny. See Chisolm v. TransSouth Fin. Corp., 95 F.3d 331, 337 n.7 (4th Cir. 1996)

(stating that circuit precedent is not binding if “superseded by a decision of the Supreme Court.”).

       Defendants argue in a lengthy footnote that Packingham’s iteration of intermediate scrutiny

does not apply here because “Packingham arose squarely within the First Amendment context and

thus does not control the analysis here.” Defs. MSJ, at 17 n.8. Kolbe refuted this argument by

noting that First Amendment precedent is the proper “guide” in Second Amendment litigation. 849

F.3d at 133. The Supreme Court has also rejected this argument, stating that the Second

Amendment is not “a second-class right, subject to an entirely different body of rules than the other

Bill of Rights guarantees.” McDonald, 561 U.S. at 780. Defendants also suggest that Justice

Thomas stated the proper iteration of intermediate scrutiny in his dissent from denial of certiorari

in Silvester v. Becerra, 138 S.Ct. 945, 947–48 (2018). Justice Thomas’ dissent and his Second

Amendment jurisprudence are clear that “courts should [only] ask whether the challenged law

complies with the text, history, and tradition of the Second Amendment,” and that, if applied,

intermediate scrutiny in the Second Amendment context cannot be less demanding than it is when

applied to other rights. Id. at 947–49 & n.4; see also Rogers v. Grewal, 140 S.Ct. 1865, 1867


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(2020) (Thomas, J., dissenting from a denial of certiorari) (noting that the lower court decisions

applying intermediate scrutiny have impermissibly “devolved” into interest balancing).

       Under any iteration, however, intermediate scrutiny requires a reviewing court to scrutinize

whether the challenged law addresses “harms” that “are real” in a “material” way. Edenfield v.

Fane, 507 U.S. 761, 771 (1993). The Supreme Court has made clear that under intermediate

scrutiny:

       When the Government defends a regulation . . . as a means to redress past harms or
       prevent anticipated harms, it must do more than simply posit the existence of the
       disease sought to be cured. It must demonstrate that the recited harms are real, not
       merely conjectural, and that the regulation will in fact alleviate these harms in a
       direct and material way.

Turner Broad Sys., Inc. v. FCC (“Turner II”), 512 U.S. 622, 664 (1994) (citations omitted); see

also, e.g., id. (citing Home Box Office, Inc. v. FCC, 567 F.2d 9, 36 (9th Cir. 1977) (“A regulation

perfectly reasonable and appropriate in the face of a given problem may be highly capricious if

that problem does not exist”); Reaching Hearts Int’l, Inc. v. Prince George’s Cty., 584 F. Supp.

2d 766, 788 (D. Md. 2008), aff’d, 368 Fed. App’x 370 (4th Cir. 2010).

       Solutions to hypothetical, abstract problems cannot survive intermediate scrutiny. See FCC

v. Beach Commc’ns, Inc. (“Turner I”), 508 U.S. 307, 315 (1993) (only rational-basis review allows

the government to justify a law with “rational speculation unsupported by evidence or empirical

data”) (citations omitted); see also Ezell v. City of Chicago, 651 F.3d 684, 708 (7th Cir. 2011)

(striking down City of Chicago ban on gun ranges and holding that “logic and data” must

demonstrate “a substantial relation between [the regulation] and [an important governmental]

objective”); Carter, 669 F.2d at 418 (noting that the State may not “‘rely upon mere ‘anecdote and

supposition’” in attempting to meet its burden) (quoting Playboy, 529 U.S. at 822; Heller II, 670

F.3d at 1248 (remanding for a factual determination on whether the District’s attempts at “licensing

the owner of the firearm” were supported by actual evidence under intermediate scrutiny).


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        In Turner II, the Supreme Court vacated summary judgment in favor of the government

because the government did not prove the existence of the claimed problem. 512 U.S. at 667.

Although the government presented a study showing that the claimed problem may or could exist,

the Court held that without “some additional evidence to establish” that the claimed problem

actually existed, the proposed remedy could not survive intermediate scrutiny. Id. at 667. On that

record, the Court “c[ould] not determine whether the threat . . . is real enough to overcome the

challenge to the provisions made by these appellants.” Id. The Court found it “significant, for

instance, that the parties have not presented any evidence” that the claimed problem actually

existed. Id.

        Intermediate scrutiny in the Second Amendment context does not allow deference to the

legislature’s findings. See, e.g., Duncan v. Becerra, 970 F.3d 1133, 1166 (9th Cir. 2020).

Deference to the legislature is appropriate only in “cases . . . involving congressional judgments

concerning regulatory schemes of inherent complexity and assessments . . . . Though different in

degree, the deference to Congress is in one respect akin to deference owed to administrative

agencies because of their expertise.” Turner Broad. Sys., Inc. v. F.C.C. (“Turner III”), 520 U.S.

180, 196 (1997). Laws burdening Second Amendment rights that are meant to address firearm

violence, like the HQL requirement, “do[] not involve highly technical or rapidly changing issues

requiring such deference” and are not entitled to Chevron-like deference. Duncan, 970 F.3d at

1167. Though the Heller dissent explicitly advanced deferring to the legislature to resolve Second

Amendment challenges, 554 U.S. at 690 (Breyer, J., dissenting), the Heller majority did not.

        Even if some deference were permissible, “deference does not foreclose [a court’s]

independent judgment of the facts bearing on an issue of constitutional law.” Turner II, 512 U.S.

at 666. This Court must “assure that, in formulating its judgments, [the legislature] has drawn




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reasonable inferences based on substantial evidence.” Id. And this requirement of “substantial

evidence” is itself substantial. In Turner III, the Court analyzed empirical evidence over the course

of 20 pages before sustaining the legislature’s conclusion. 520 U.S. at 196–224. See, e.g., Young

v. Hawaii, 896 F.3d 1044 (9th Cir. 2018) (“Mere citation is an inadequate application of

intermediate scrutiny, even according deference to the predictive judgment of a legislature, and

Turner Broadcasting itself shows why.”), vacated 915 F.3d 681 (9th Cir. 2019).

        Under any application of intermediate scrutiny, “[f]it matters” and where, like here, a

statute is “poorly tailored to the Government’s interest” it fails intermediate scrutiny. McCutcheon

v. FEC, 572 U.S. 185, 218 (2014). Defendants must provide substantial evidence proving that the

HQL requirement is “narrowly tailored to serve a significant government interest” and does not

“burden substantially more [protected conduct] than is necessary to further that interest.”

McCullen, 573 U.S. at 486. As demonstrated below, the HQL requirement fails both prongs of this

test.

               1.      Defendants cannot establish that the recited harms exist or that the
                       HQL requirement will alleviate these harms in a direct and material
                       way.

        The HQL requirement cannot survive intermediate scrutiny because Defendants fail to

“demonstrate that the recited harms are real, not merely conjectural and that the regulation will in

fact alleviate these harms in a direct and material way.” E.g., Turner II, 512 U.S. at 664.

Defendants also have failed to show that the HQL requirement does not “burden substantially more

[protected conduct] than is necessary to further that interest,” Turner III, 520 U.S. at 2113–14, or

are otherwise “narrowly tailored” to legitimate goals. McCullen, 573 U.S. at 486.




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                   a. Defendants cannot establish that the additional 30-day delay alleviates
                      a demonstrated harm in a direct and material way.

       As noted above on pages 16–17, allowing Defendants up to 30 days to review and rule

upon an HQL application is arbitrary and does not relieve Defendants of any demonstrated harm.

Prior to the HQL requirement, Defendants took seven days to investigate every potential handgun

purchaser. Md. Code Ann., Pub. Safety § 5-118; id. at § 5-123(a). Defendants concede that some

“Handgun License applications have been processed the same business day that they are received.”

Col. Pallozzi Interrog. Resp., Ex. 20, No. 7. Defendants have not established the need for a 30-day

delay to process HQL applications. This 30-day delay, tacked on to the 77R Handgun Registration

seven-business-day delay, cannot possibly be the least restrictive means to achieve Defendants’

interests, and Defendants have made no effort to demonstrate that it is.

                   b. Defendants cannot establish that the fingerprint requirement alleviates
                      a demonstrated harm in a direct and material way.

       Defendants fail to demonstrate that the fingerprint requirement alleviates a demonstrated

harm in a direct and material way. Defendants claim that the fingerprint requirement “enables [the

Maryland State Police] to ensure that the applicant is positively identified and not using false

identification or altering his or her identification information” and “deter[s] . . . straw purchasers

and those intending to purchase firearms solely for criminal purposes” from purchasing a handgun.

Defs. MSJ, at 19, 22. But the 77R Handgun Registration process, along with the other federal and

state laws, already allowed Defendants to ensure that the applicant is positively identified and not

using a false identification. Defendants admit that the only possible harm for the HQL requirement

to alleviate would be prohibited individuals who could have acquired a handgun after undergoing

a 77R Handgun Registration background check but not under the HQL requirement fingerprint

requirement. See A. Johnson Dep., Ex. 6, at 112:8–117:7. Defendants cannot identify a single

individual who fits this description. Id. at 116:1–117:7. Defendants present no evidence that


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anyone in Maryland ever used a false or altered identification to purchase a handgun before the

HQL requirement took effect. Id. at 113:3–21. Defendants also present no evidence of any straw

purchases or of individuals who purchased a handgun solely for criminal purposes. Id. at 76:16–

22; J. Johnson Dep., Ex. 7, at 25:10–16, 28:6–14. Because Maryland is now REAL ID Act

compliant, there is no likelihood of false identification.

        Defendants also claim that “a fingerprint record can be used to determine if an HQL

licensee is convicted of a disqualifying offense subsequent to passing the initial background

investigation” and that fingerprinting “allows [Maryland State Police] to revoke a disqualified

person’s HQL and, where necessary, retrieve unlawfully possessed firearms.” Defs. MSJ, at 21.

But the 77R Handgun Registration process allowed Defendants to easily locate and disarm

handgun owners who were subsequently disqualified from handgun ownership. Webster Dep., Ex.

5, at 19:14–20:14. And Defendants present no evidence that the Maryland State Police was unable

to disarm these individuals prior to the HQL requirement under existing requirements. Id.

Defendants cannot demonstrate the existence of any harm for the fingerprint requirement to

alleviate.

        Even if these alleged problems did exist, Defendants cannot demonstrate that the

fingerprint requirement alleviates them in a direct and material way. The Maryland State Police

and its expert Webster admit that the fingerprint requirement does not add any benefit from what

the previous 77R Handgun Registration process conferred. See A. Johnson Dep., Ex. 6, at 112:8–

19; Webster Dep., Ex. 5, at 19:14–20:14. The fingerprint requirement does not, indeed could not,

alleviate any problem in a direct and material way.

        Further, Defendants have no admissible evidence that the HQL requirement alleviates

Maryland’s equally unsupported straw purchase problem. For this proposition, Defendants rely




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upon Webster, who in turn relies upon a 2017 study that purports to assess the Firearm Safety

Act’s (“FSA”) impact on the supply of handguns diverted to criminal use in Baltimore. Defs. MSJ,

at Ex. 11, ¶ 18 (citing Cassandra K. Crifasi et al., The initial impact of Maryland’s Firearm Safety

Act of 2013 on the supply of crime guns in Baltimore, 3(5) The Russel Sage Foundation Journal

for the Social Sciences 128–40 (2017) (the “Baltimore Study”)). But the Baltimore Study does not

help Defendants. Although it concludes that the FSA caused a reduction in the supply of crime

handguns in Baltimore, this conclusion is not based on any actual (or reliable) data on the supply

of crime handguns in Baltimore or anywhere else. Kleck Decl., Ex. 24, at ¶¶ 4–12. The study

utilized firearm trace data on guns recovered by police. This trace data, however, is useless in

assessing the supply of crime guns. Id. The ATF disclaims explicitly that “[t]he firearms selected

[for tracing] do not constitute a random sample and should not be considered representative of the

larger universe of all firearms used by criminals, or any subset of that universe.” Bureau of

Alcohol, Tobacco, Firearms and Explosives. Firearms Trace Data, 2016: Maryland.20 Therefore,

trace data cannot be used to draw conclusions regarding Baltimore crime guns or crime guns

generally, rendering the study’s conclusion useless under standard statistical models. Kleck Decl.,

Ex. 24, at ¶¶ 6–8. Most importantly, Webster’s study cannot isolate the effect, if any, of the HQL

requirement from all of the other factors he admits bear upon the supply of crime guns in

Baltimore. See Webster Dep., Ex. 5, at 248:16–251:20; Kleck Decl., Ex. 24, at ¶¶ 10–11. Webster’s

testimony and studies provide Defendants with no evidence that the fingerprint requirement

alleviates the claimed straw purchase problem.

           In the time that has passed since this case was first briefed on summary judgment, in tacit

recognition of the flaws in his prior studies and testimony in this case, Webster has “completed



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     Available at https://bit.ly/3iPncPp (last visited Jan. 27, 2021).

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additional research studies” touching upon his prior testimony. Defs. MSJ, at Ex. 12, ¶ 4.

Defendants make cursory reference to two of these studies, both of which discuss the possibility

that permit-to-purchase laws reduce the homicide rate. Defs. MSJ, at 22–24. Defendants do not

claim the homicide rate is a problem the fingerprint requirement will alleviate. See id.

Nevertheless, both studies are fatally flawed and provide no support to Defendants.

       The first, according to Webster, is an update of Webster’s prior, fatally-flawed analysis of

Missouri’s repeal of its permit-to-purchase law. See Hasegawa RB, Webster DW, Small DS.

Bracketing the Comparative Interrupted Time-Series Design to Address Concerns about History

Interacting with Group: Evaluating Missouri’s Handgun Purchaser Law. Epidemiology 2019

May; 30(3): 371–79 (the “Second Missouri Study”). The second, Daniel W. Webster, et al.,

Evidence Concerning the Regulation of Firearms Design, Sale, and Carrying on Fatal Mass

Shootings in the United States, 19 Criminology & Public Policy 171–212 (2020) (the “Fatal Mass

Shooting Study”), purports to find that permit-to-purchase laws that require “either in person

application with law enforcement or fingerprinting” resulted in a 56% lower chance of fatal mass

shootings. The third, Alexander D. McCourt, et al., Purchaser Licensing, Point-of-Sale

Background Check Laws, and Firearm Homicide and Suicide in Four States, 1985–2017, 110 Am.

J. of Public Health 10, 1546 (October 2020) (the “PTP study”), claims that permit-to-purchase

laws in four states resulted in a dramatic decrease in firearm homicide and firearm suicide rates.21

       Each of these studies, in addition to being flawed in their own individual way, cannot be

relied upon because they are the product of manifest “data dredging,” where a researcher identifies



21
   Webster estimates that the repeal of Missouri’s handgun purchaser licensing law was associated
with a 47.3% increase in firearm homicide rates in this study. However, in the Hasegawa study,
Webster and his colleagues estimated that the same repeal was associated with a 27% increase in
firearm homicide rates. No explanation is given for this enormous difference; neither Defendants
nor Webster even so much as acknowledge the obvious inconsistency of the two studies.

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some non-causal associations (such as, for example, a coincidental uptick in firearm homicide rates

the year after the repeal of a particular gun control law), and then continuously refines his research

approach in an attempt to support a hypothesis that there is a causal relationship, usually by cherry-

picking laws, or locations, or date ranges, to the exclusion of the larger body of available data. See

Kleck Supp. Decl., Ex. 28, at ¶¶ 2–28. This approach is of no value to either a court or a legislative

body, because it does not accurately analyze whether any particular gun control law is likely to

have a salutary effect on violence in that jurisdiction. Id.

       Webster’s Second Missouri Study cherry-picks Missouri, artificially restricts the date

range analyzed, and makes no effort to explain why all the alleged increase in firearm crime

happened in one year and then reverted to its pre-repeal rate. Id. at ¶¶ 29–36. In the Fatal Mass

Shooting Study, Webster cherry-picks which variables to control for (while ignoring nearly all

actual confounding variables), cherry-picks what kind of mass shootings to include (and how to

define them in terms of numbers of fatalities), cherry-picks which states to include in the study,

and obscures whether fingerprinting or personally appearing at a law enforcement agency or

perhaps both has the allegedly beneficial effect on fatal mass shootings. Id. at ¶¶ 37–54. Finally,

the PTP Study cherry-picks the date range it analyzes, the states it reviewed, and the factors and

variables it would include in its so-called “synthetic control” methodology. Id. at ¶¶ 62–77. Even

worse, Webster could have compared the actual effect of the Maryland HQL from 2013 to 2017

(data he had and that was within the date range of the rest of the study) to the effect of the Maryland

77R comprehensive background check in place from 1996, but he chose not to do so, instead

comparing the 77R to Connecticut’s purchasing license. Id. at ¶ 56. By omitting mention of

Maryland’s HQL, Webster avoided reporting that the firearm homicide rate surged in Maryland

following implementation of the HQL in 2013. Id. This problem is hinted at, but not addressed or




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resolved, in Defendants’ MSJ. See Defs’ MSJ, at p. 22, n. 9 (claiming that “dramatic civil unrest

prompted by actions taken by police are often followed by sharp increases in violent crime….”)

(citing Webster Decl. at 16). Defendants offer no evidence to support this speculation to explain

Maryland’s dramatically increasing firearm homicide rate. These unreliable and self-serving

studies provide no support for Defendants’ contentions that the HQL will improve public safety in

Maryland in any way. This Court should disregard those studies and the testimony of Webster.

                   c. Defendants cannot establish that the additional half-day classroom
                      training with live-fire requirement alleviates a demonstrated harm in a
                      direct and material way.

       Defendants cannot demonstrate that the additional safety course with live-fire requirement

alleviates a demonstrated harm in a direct and material way. Defendants claim seven purposes

accomplished by the classroom training with live-fire requirement, including: (1) “reduc[ing] the

likelihood that a member of a household who is not eligible to possess a firearm will gain access

to one;”“ (2) “deterring straw purchasers;” (3) “enhanc[ing] knowledge of and compliance with

State laws;” (4) “reduc[ing] access of firearms to children;” (5) “reduc[ing] the risk of accidental

discharges[;] (6) “reduc[ing] the likelihood of theft;” and (7) “enhanc[ing] effective law

enforcement.” Defs. MSJ, at 26–28. But Defendants concede that they have no evidence that any

of these issues were real problems or that a half-day of training and a live-fire requirement have

or will alleviate them in a direct and material way. Regarding claimed interests (1) and (4),

Defendants fail to demonstrate that prohibited individuals and children were accessing handguns

at home or that these individuals are accessing handguns less than before the HQL requirement

went into effect. A. Johnson Dep., Ex. 6, at 109:12–111:9. Regarding claimed interest (2),

Defendants have no evidence of a single straw purchase in Maryland from before the HQL

requirement took effect (or, necessarily, that the HQL requirement deterred any straw purchases).

Id. at 76:16–22, 113:3–9; J. Johnson Dep., Ex. 7, at 25:10–28:14. Regarding claimed interest (3),


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Defendants have no evidence that the HQL requirement has led to better gun storage practices in

Maryland. A. Johnson Dep., Ex. 6, at 109:7–110:11. Regarding claimed interest (5), Defendants

have no evidence of a single accidental discharge, either before or after the HQL requirement. Id.

at 75:17–76:11. Regarding claimed interest (6), Defendants have no evidence of handgun theft,

either before or after the HQL requirement. Id. at 119:16–18. And regarding claimed interest (7),

Defendants have no evidence that the HQL requirement has enhanced effective law enforcement.

The firearm safety training with a live-fire requirement are non-answers to hypothetical problems

and cannot survive intermediate scrutiny. Turner II, 512 U.S. at 664.

               2.      Defendants cannot establish that the HQL requirement is narrowly
                       tailored to serve a substantial government interest.

       The HQL requirement is not narrowly tailored because it imposes burdens without any

concomitant benefit. Each individual requirement is independently as burdensome as it is

unnecessary.

                    a. The additional 30-day delay is not narrowly tailored to serve a
                       substantial government interest.

       Defendants do not even attempt to meet their burden of demonstrating that the additional

30-day delay (in addition to the post-purchase waiting period mandated by Md. Code Ann., Pub.

Safety § 5-123(a)) is narrowly tailored to a substantial interest. Defendants also fail to put forth

any proof that the delay is narrowly tailored to meet any substantial interest. Because Defendants

fail to put forth any proof, they necessarily cannot demonstrate that the additional 30-day delay is

narrowly tailored to serve a substantial government interest. Turner II, 512 U.S. at 664.

                    b. The fingerprint requirement is not narrowly tailored to serve a
                       substantial government interest.

       The fingerprint requirement burdens far more protected conduct than is necessary to serve

Defendants’ claimed interests in preventing straw purchases, preventing purchases with false or




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altered identification, and revoking HQLs from disqualified individuals. This is necessarily true

because the fingerprint requirement is universal but, as demonstrated above on pages 17–18, does

not further any of these interests. The fingerprint requirement adds a burden but no benefit and

fails intermediate scrutiny. Additionally, for the reasons described above on pages 17–18,

Defendants do not have a substantial interest in using fingerprints to revoke HQLs.

                   c. The classroom training with live-fire requirement is not narrowly
                      tailored to serve a substantial government interest.

       The additional half-day classroom requirement is not narrowly tailored to achieve a

substantial government purpose. As demonstrated above on page 20, the HQL safety course is

substantively identical to the 77R Handgun Registration online presentation. The additional

burdens imposed by the HQL course provide no benefit and cannot survive intermediate scrutiny.

       Additionally, the live-fire requirement is not narrowly tailored to advance Defendants’

claimed interests in safe storage of a firearm (and the negative consequences that arise from unsafe

storage). Rather, it is unrelated entirely. In firing a firearm, HQL applicants do not learn how or

where to store a firearm. Rather, the applicant must only “safely fire[] at least one round of live

ammunition.” COMAR 29.03.01.29 (emphasis added). Maryland does not require any additional

hands-on practice regarding safe storage. See id. This requirement is not substantially related to

Defendants’ stated interest.

       While Defendants purport to rely on Heller III, Defs. MSJ, at 29, Defendants fail to note

that the D.C. Circuit in Heller III struck down a training requirement that mandated instruction in

the law, a requirement that is virtually identical to the same requirement imposed by Section 5-

117.1(d)(3)(ii)(1). See Heller III, 801 F.3d at 278–79 (holding that the District had “presented no

evidence from which it could conclude that passing a test of knowledge about local gun laws”

sufficiently “fit” the District’s justification and that “the test of legal knowledge” was therefore



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unconstitutional). Heller III sustained the other training requirements imposed by the District’s

law, but that training consisted of merely watching a one-hour video online, id. at 279, exactly

what the 77R Handgun Registration previously required. That hardly compares to the HQL

training: four hours of classroom attendance plus live-fire training by a State-approved, State-

licensed instructor at a range.

       Defendants also fail to acknowledge that the one-hour online video at issue in Heller III

came about only after the District had abandoned its earlier training requirement that had been

challenged in Heller II, in which the District had required “a total of at least one hour of firing

training at a firing range and a total of at least 4 hours of classroom instruction.” Heller II, 670

F.3d at 1249. The D.C. Circuit held that this training requirement, among other “novel” registration

requirements, made “it considerably more difficult for a person lawfully to acquire and keep a

firearm, including a handgun, for the purpose of self-defense in the home.” Id. at 1255. The court

applied intermediate scrutiny, vacated summary judgment for the District and remanded for a

further factual inquiry, holding that the District had failed to present “evidence to substantiate its

claim that these requirements can reasonably be expected to promote either of the important

governmental interests” asserted by the District. Id. at 1259. After that remand, the District

repealed its training requirement and substituted the one hour of online video. See Heller III, 801

F.3d at 269. As noted above, even then, the D.C. Circuit still invalidated the legal training part of

that one hour video requirement. Like the District in Heller II, Defendants have not justified the

much more burdensome training requirements at issue here that closely resemble those initially at

issue in Heller II. Instead, as noted above, the HQL requirement is a pretext for Defendants to

reduce the exercise of the Second Amendment right generally. That interest cannot survive any

heightened constitutional scrutiny.




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               3.      Defendants enacted the HQL requirement without substantial
                       evidence.

       None of the HQL requirements were “based on substantial evidence.” Turner II, 512 U.S.

at 666. Defendants state that the Maryland General Assembly heard from “various public policy

and law enforcement experts advocating for the HQL prerequisite.” Defs. MSJ, at 3. This is a vast

overstatement at best. These so-called experts included Webster, former Baltimore County Police

Chief James Johnson, and former Baltimore City Police Commissioner Anthony Batts. Id. at 3–4.

None of these individuals advocated for the live-fire requirement. The live-fire requirement in the

original bill was actually struck by the legislature as the bill was enacted. Pennak Decl., Ex. 2, at

Ex. A, 8–9. Further, both former-Chief Johnson and former-Commissioner Batts provided only

conclusory, general support for the fingerprint and additional firearm safety course requirements.

Neither provided any reason why these requirements are necessary, whether they were narrowly

tailored to respect law-abiding Maryland citizens’ Second Amendment rights, or how they would

enhance public safety in Maryland. For instance, former-Chief Johnson testified only that “[t]he

requirement that purchasers obtain proof that they completed firearm safety training is an

exceptional element of the Bill.” Defs. MSJ, at Ex. 5. Similarly, former Commissioner Batts’

testimony consisted of a conclusory statement that a background check using fingerprints will

“ensur[e] that the applicant is not prohibited from possessing a handgun.” Defs. MSJ, at Ex. 6. He

also testified in support of “training” but again did not testify what training he had in mind or why

it would be beneficial. Id. These testimonies do not provide any specific support for the HQL

requirement and fail to demonstrate that the 77R Handgun Registration process is inadequate.

       Webster testified only in support of a fingerprint requirement that did not become part of

the HQL requirement as passed. Defs. MSJ, at 3 & Ex. 3. He testified that if the fingerprints were

“processed directly by law enforcement agencies—which [he] assume[d] would be the case when



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the Secretary writes regulations to implement the statute—[this] would result in fewer false

applications for firearm purchases being processed.” Id. But Maryland does not process

fingerprints directly with law enforcement agencies; it uses private vendors. COMAR 12.15.05.

His testimony is irrelevant and cannot support the HQL requirement or its fingerprint requirement.

Additionally, although Webster discussed the findings of a study conducted by the United States

General Accounting Office (“GAO”), he later conceded the inapplicability of this study to

Maryland or the HQL requirement. The GAO did not examine Maryland, and the states at issue in

the GAO study did not have handgun purchase laws similar to Maryland’s 77R Handgun

Registration process. Webster Dep., Ex. 5, at 23:7–13, 170:19–171:19. Defendants rely heavily on

this GAO report, Defs. MSJ, at 21, but fail to acknowledge that it predates the REAL ID Act.

Noted above on page 8, the REAL ID Act is fully implemented in Maryland. Defendants do not

suggest that counterfeiting of REAL ID compliant licenses is a problem or that any such compliant

licenses have ever been counterfeited and then used to purchase a firearm in any state, much less

in Maryland. The REAL ID Act likewise was not considered by the D.C. Circuit in Heller III, on

which Defendants likewise mistakenly rely.

       Finally, Webster’s research, which he referenced at the hearings, is similarly inapplicable

to the HQL requirement. At the time, Webster conceded that he had not researched handgun

violence in states with laws similar to Maryland’s HQL requirement. Although several states, e.g.,

Connecticut and Missouri, have or did have permit-to-purchase laws, the only shared requirement

between these states and Maryland is a nominal license requirement. Id. at 189:9–13. The

requirements to obtain these licenses differ in critical ways, rendering the studies useless here. See

Kleck Decl., Ex. 24, at ¶¶ 13–23; Kleck Supp. Decl., Ex. 28, at ¶¶ 36–38; see also Webster Dep.,

Ex. 5, at 178:20–180:1, 184:16–190:5.




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       The undisputed evidence in this case shows that Defendants have failed to prove that the

HQL requirement is narrowly tailored to meet a substantial government interest. The HQL

requirement levies a substantial burden on plaintiffs’ Second Amendment rights, while advancing

very little, if at all, the government’s claimed interests. For these reasons, the HQL requirement

cannot withstand even intermediate scrutiny, the lowest standard to which it can be held.

                                          Conclusion

       For the foregoing reasons, Plaintiffs respectfully request the Court deny Defendants’

Motion for Summary Judgment and grant Plaintiffs’ Cross-motion for Summary Judgment,

declaring Section 5-117.1 of the Public Safety Article of the Maryland Code to be unconstitutional

under the Second Amendment to the Constitution.

                                             Respectfully Submitted,

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Dated: January 27, 2021                      Counsel for Plaintiffs




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                                     Table of Exhibits

Exhibit No.   Title
     1.       Redacted Declaration of Stephen Schneider
     2.       Declaration of Mark Pennak
     3.       Excerpts of the Deposition of Susan Vizas
     4.       Excerpts of the Deposition of Deborah Miller
     5.       Excerpts of the Deposition of Daniel Webster
     6.       Excerpts of the Deposition of Andy Johnson
     7.       Excerpts of the Deposition of James Johnson
     8.       Excerpts of the Deposition of James Russell
     9.       77R Handgun Registration Safety Course Training Video CD previously filed and
              identified as ECF 77-09
     10.      Md. Code Ann., Pub. Safety § 5-118 (2003)
     11.      Excerpts of the Deposition of Diane Armstrong
     12.      J. Joseph Curran, A Farewell To Arms The Solution to Gun Violence in America
              (Oct. 20, 1999)
     13.      Firearm Safety Act, 2013 Maryland Laws Ch. 427 (S.B. 281)
     14.      Defendants William M. Pallozzi’s Third Supplemental Answers to Plaintiff
              Atlantic Guns, Inc.’s First Set of Interrogatories and Email transmitting HQL
              Applications Data from Assistant Attorney General Robert Scott on October 30,
              2020.
     15.      Deposition Exhibits 48, 105 & 106 and Email Transmitting Maryland State Police
              Firearm Transfer Data Transmitted from Assistant Attorney General Robert Scott
              on October 27, 2020.
     16.      Excerpts of the Deposition of Dana Hoffman
     17.      Excerpts of the Deposition of Mark Pennak
     18.      Deposition Exhibit 21 LiveScan HQL Fingerprinting Gosts
     19.      Excerpts of the Deposition of Stephen Schneider
     20.      Defendant William M. Pallozzi’s Answers to Plaintiff Atlantic Guns, Inc.’s First
              Set of Interrogatories
     21.      Administrative Log
     22.      Maryland Crime Statistical Data
     23.      Declaration of Carlisle Moody
     24.      Declaration of Gary Kleck
     25.      Excerpts of the Deposition of Scott Miller
     26.      Excerpts of the Deposition of John Clark
     27.      Declaration of Connor Blair
     28.      Supplemental Declaration of Gary Kleck


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of January, 2021, the foregoing was served,

via electronic delivery to Defendants’ counsel via CM/ECF system which will forward copies to

Counsel of Record.



                                          /s/ John Parker Sweeney
                                          John Parker Sweeney (Bar No. 08761)




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